Case 2:22-cv-02048-JAR-ADM Document17-8 Filed 06/03/22 Page 1 of 74

Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 1 of 74 PagelD #: 97
EXHIBIT

UNITED STATES DISTRICT COURT.

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EASTERN DISTRICT OF MISSOURIAPR 1 6 2013

EASTERN DIVISION BS.

UNITED STATES OF AMERICA, ) ST. LOUIS j
wats je 4 4 G
v. ) No.
)
SHAHADU SUTTON, a/k/a “Shi,” “Shah,”) Counts 1,2,3,7,9,10,11,12,13,16,17,18,19,21,

“Sean,”

TIFFANY SUTTON,
MORRIS DAVIS, a/k/a “Mo,”

ORLANDO PRESTON, a/k/a “Black,”
“Pookie”
WILLIAM SMITH, a/k/a “BJ,”

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)
REGINALD MCNEARY, a/k/a “Reggie,” —_—+)
“Red”, “Richard” )
ROBERT REECE, a/k/a “Orlando,” “O,” )
JOHN HICKS, )
REGINALD DAVIS, a/k/a “Reggie,” )
RANDY TERRELL, a/k/a “Red,” )
LONNIE JORDAN, )
STEVEN PIRTLE, )
SHELDON MITCHELL, )
CHESTER WILSON, )
ARVIS DUNBAR, )
EUGENE DUNBAR, )
MICHAEL SMITH, )
TERRELLE MARION, )
JERMAINE GAMBLE, )
DENVER CARROLL III, and )
JOSEPH PEARSON, )
)

)

Defendants.

22,23 ,24,25,26,27,30,31,33,34,37,40,44,45,
46,49,50,51,52,53,61,63,65,67,70,72,74,76,
83

Counts 1,3,7,9,12,13,23,25,26,31,55
Counts1,13,17,18,21,27,28,29,30,31,32,33,
34,35,36,37,38,39,40,41,42,43,44,45,50,57,
70

Counts 1,48,54,55,58,84

Counts 1,46,47,48,49,51,52,53,54,55,57,58,
71,72,74,83
Counts1,4,8,14,15,50,51,57,60,62,64,66,67,
68,69,82

Counts 1,36,40,44,45,50

Counts 1,9,10,11,12,29,70

Counts 1,18,47,71

Counts 1,56,73,75,76,81

Counts 1,56

Counts 1,11,19

Counts 1,7,9,10,12,13,50

Counts 1,47,55,71,72

Counts 1,25,26,27,31,78

Counts 5,6

Counts 16,20

Counts 77,81

Counts 79,80

Count 82

Count 59
Case 2:22-cv-02048-JAR-ADM Document17-8 Filed 06/03/22 Page 2 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 2 of 74 PagelD #: 98

INDICTMENT
COUNT 1
(Conspiracy)
The Grand Jury charges that:
BACKGROUND

At pertinent times relevant to this Indictment:

1. All motor vehicles (hereinafter vehicle or automobile) required to be registered with
federal and state authorities in order to-use governmental roadways are required to have a
Vehicle Identification Number (hereinafter VIN). A VIN is assigned by the manufacturer, is
specific and unique to the vehicle, and is placed on plates and labels in vatious locations on the
vehicle. Since 1981, a VIN is a seventeen-digit identification code, comprised of letters and
numbers arranged in a sequence to identify specific information such as: in which country the
vehicle was assembled, the assembly plant, the car line on which the vehicle was built, the
sequence production number, the body type, the engine type, model year, and the restraint
system installed.

2. After purchasing a vehicle, a State of Missouri resident must obtain a Certificate of
Ownership (title) and pay sales tax on that vehicle within 30 days. To obtain an original title
on a new vehicle an individual must submit to the Missouri Department of Revenue, Motor
Vehicle Bureau (DOR), an Application for Missouri Title and License (Form 108), proof of
ownership, and a manufacturer’s statement of origin. To obtain an original title on an used
vehicle an individual must submit to DOR an application, pre-existing title from any state, any

applicable lien releases, and, in certain counties, safety and emission inspections.
Case 2:22-cv-02048-JAR-ADM Documenti17-8 Filed 06/03/22 Page 3 of 74
Case:.4:13-¢r-00143-CDP....Doc..#:..2_..Filed:.04/16/13...Page:.3.0L.74.PagelD #:.99

3. Ifa title becomes lost, stolen, mutilated, or destroyed, an application for a duplicate
title must be submitted within five (5) days. An application is completed, signed, and
notarized indicating the reason why the duplicate title is needed. If the duplicate title is
requested due to mutilation of the original, the mutilated original must be included with the
application. A notarized Lien Release (Form 4809) is required, if applicable. If filed, this
would remove the lien holder’s name from the title. The owner may indicate an address to
which DOR should mail the duplicate title, which may be different than that on the original
title.

4. There are other types of titles including repossession, mechanic lien and salvage.
Repossession titles are issued to lien holders who have provided ten (10) days written notice to
the owner and any other lien holder by F irst Class Mail of their intent to file for a repossession
title, or obtained consent from all concerned parties to the repossession. An
Application/A ffidavit F or Missouri Repossession Title (Form 5005) must be completed,
signed, notarized, and submitted along with a document proving lien holder status, either a
Notice of Lien Receipt (Forms 4809 or 108) or a copy of the actual title.

5. Mechanic lien titles can only be issued upon the perfection of a lien. To do this a
completed, signed, and notarized Form 108 is filed along with the original or copy of the
written request for labor, services, skill, materials, or storage costs, and a notarized affidavit
certifying that the owner has defaulted on payment with DOR. In addition, certified receipts
of notice letters to the owner and any lien holders, if applicable, must be submitted. Once
received, DOR mails notice letters to registered owner/lien holders at the addresses provided
by the applicant on the Form 108. If there is no response within thirty (30) days, DOR issues a _

mechanic lien title on the vehicle in the applicant’s name.
Case 2:22-cv-02048-JAR-ADM Document17-8 Filed 06/03/22 Page 4 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 4 of 74 PagelD #: 100

6. A vehicle is a salvage vehicle when it is damaged within seven (7) years of its model
year to the point where repairs exceed eighty (80) percent of its fair market value. To obtain a
salvage title, a Form 108 must be completed, signed, and notarized and the original title must
be submitted. A salvage title may not be used for licensing a vehicle and thus a salvage
vehicle may not be operated. Original title for a salvage titled vehicle may be applied for by
Form 108 when accompanied by a Vehicle Examination Certificate (Form-551) describing
what repair work was performed and what parts were used on the vehicle.

7. When an individual owner registers a vehicle with the State of Missouri, the owner is
issued license plates. Every vehicle operated on the highways of Missouri must be registered
annually or every two years by the owner. A licensed automobile dealer may be issued dealer
license plates which may be transferred from dealer owned vehicle to dealer owned vehicle but
must not be used for personal use. Repair and service facilities may be issued drive-away
license plates. Drive-away license plates are strictly used for the purpose of transporting
vehicles in transit and may not be used by tow truck opérators transporting wrecked, disabled,
abandoned, improperly parked, or burned vehicles.

8. Every dealer and public garage operator, for a period of three (3) years, must keep a
correct record of the name and address of the person delivering a vehicle, VIN, and odometer
setting of all vehicles accepted for sale, storage, or repair. Every dealer and public storage
garage operator must report unclaimed vehicles to DOR if fifteen (15) days have expired since
notification to owner, otherwise they forfeit claims for liens on storage. Dealers, lien holders,

and other qualified businesses may access DOR title and lien records online.
Case 2:22-cv-02048-JAR-ADM Document17-8 Filed 06/03/22 Page 5 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 5 of 74 PagelD #: 101

-9, The Osage Nation is a Native American tribe that governs its own territory,
coterminous with Osage County, Oklahoma, located in the north-central portion of the state.
As part of its governmental functions, the Osage Nation registers and licenses vehicles for
individuals of Osage Nation descent, residing within the jurisdiction of the Osage Nation. To
obtain an Osage Nation title, an application must be made to the Osage Nation Tax
Commission with proof of purchase or an endorsed pre-existing title. Before a title can be
issued, the applicant must demonstrate, among other things: 1) Osage Nation membership, 2)
residential requirements, and 3) automotive insurance coverage. The Osage Nation
distinguishes between an original title, issued to the first purchaser of a new vehicle from an
automobile dealer, and a transfer title, issued to a second or subsequent owner of a vehicle.

10. The State of Missouri commissions individuals upon application to be a notary,
investing them with the authority to administer oaths and certify that document copies are true.
Notaries are required to record all their official acts in a journal. For each notarial act, the
journal should contain, among other things: the date, type of document, name and address of
signer, and type of identification used by the signer. An oath must be administered to the
person whose signature is being notarized and the signature must be in the presence of the
notary. A notary who knowingly and willfully fails to comply with the above requirements
commits official misconduct and is subject to revocation of commission.

11. The following are all financial institutions whose deposits were insured by the Federal
Deposit Insurance Corporation (FDIC) or the National Credit Union Share Insurance Fund
(NCUSIF): Allegiant Bank, Ally Financial (Ally), American Eagle Credit Union, AmeriCredit,
BNY Midwest Trust Company (BNY Midwest Trust), Boulevard Bank, Capital One Auto

Finance (Capital One), Chrysler Financial, Drive Financial Services (Drive Financial), Electro
Case 2:22-cv-02048-JAR-ADM Document17-8 Filed 06/03/22 Page 6 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 6 of 74 PagelD #: 102

Savings Credit Union, First Investors Financial Services (First Investors Financial), Ford
Motor Credit Company (Ford Motor Credit), Gateway Metro Credit Union, Granite City Steel
Federal Credit Union (GCS Federal Credit Union), General Motors Acceptance Corporation
(GMAC), J.P. Morgan Chase Bank, N.A. (Chase Bank), Midwest Acceptance Corporation
(Midwest Acceptance), National Auto Finance Company (National Auto Finance), Regions
Bank, Santander Consumer USA, Inc. (Santander), Scott Credit Union, St. Louis Postal Credit
Union, Universal Credit Acceptance, Inc. (Universal Credit Acceptance), Vantage Credit
Union, Wells Fargo Financial (Wells Fargo), and West Community Credit Union.

12. Automobile insurance in Missouri includes different types of coverage. “Property
damage liability coverage” also known as “third-party property damage” covers claims
submitted by third parties whose vehicle is damaged as a result of a collision caused by the
insured. “Collision coverage” also known as “first-party property damage” covers damage to
the insured’s vehicle as a result of a collision with another vehicle or object, regardless of
fault. “Comprehensive coverage” covers damage to a vehicle not caused by a collision, such as
damage caused by a catastrophic event. In this Indictment, all types of coverage above are
referred to as “property damage coverage” and claims submitted under these coverages are
referred to as “property damage claims.” In addition to covering damage to a vehicle, property
damage coverage may also cover certain related expenses, such as medical bills, towing and

storage fees, and rental car charges.

13. The following are all insurance companies that offered automobile insurance, including
property damage coverage, to businesses and individuals in Missouri: AAA Auto Club Inter-
Insurance Exchange (AAA Insurance), American Family Mutual Insurance Company

(American Family Insurance), American First Insurance, Country Preferred Insurance
Case 2:22-cv-02048-JAR-ADM Document17-8 Filed 06/03/22 Page 7 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 7 of 74 PagelD #: 103

Company (Country Insurance), Farmer’s Insurance Company (Farmer’s Insurance), Omni

Insurance Company (Omni Insurance), Progressive Preferred Insurance (Progressive

Insurance), Republic Western Insurance Company (Republic Western Insurance), Safeco
Insurance Company of America (Safeco Insurance), and State Farm Mutual Automobile
Insurance Company (State Farm Insurance). The companies referenced above are referred to
collectively as insurance companies.

14. The following are all automobile dealers, dealerships, or auction houses operating in
the St. Louis Metropolitan area in the Eastern District of Missouri: Auto Centers Nissan, Auto
Plaza Maplewood (Auto Plaza), Copart, Inc. (Copart), Dave Mungenast Lexus, Fast Lane
Classic Cars, Fifth Street Motors, Indy Motor Sports, Johnny Londoff Chevrolet, Ken’s
American Motors, Manheim St. Louis (Manheim), Marty Cancila Dodge, McMahon Lincoln-
Mercury, Midrivers Lotus, Modern Auto Parts, OK Auto Sales (OK Auto), Paul Cerame Auto
Group (Paul Cerame), ST Auto Sales (ST Auto), St. John Motor Company, St. Louis Car
Credit, and Sunset Auto Company (Sunset Auto). Automobile dealerships referenced in this
Indictment, operating outside the St. Louis Metropolitan area, are identified by city and state
location the first time they appear.

THE BUSINESSES

15. The members of the conspiracy created and used several businesses associated with
vehicle service, including repair, sales, storage, and towing which facilitated the criminal
conduct charged herein. Several of the businesses had little to no operation outside the
conduct of the conspiracy, but presented the facade of a fully operating venture. Several of the
businesses did not register as required with the Missouri Secretary of State and several that

did, continued to operate after their official dissolution by the Secretary of State. In addition,
Case 2:22-cv-02048-JAR-ADM Document17-8 Filed 06/03/22 Page 8 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 8 of 74 PagelD #: 104

the members of the conspiracy used derivative and additional business names at the primary

business locations noted below (all addresses are St. Louis, Missouri unless otherwise noted):
a. SEDS Auto, Inc. (SEDS) — Formed for the purpose of automobile sales and
repair, the corporate office was located at 11XXX Bellefontaine Road, the
residential address of the mother of Shahadu Sutton. The business address was
13XX S. Florissant Road. The registered agent and president was Eugene Dunbar;
Shahadu Sutton the vice-president, secretary, and treasurer. Sheldon Mitchell was
later added to the Board of Directors.
b. 3D Auto House — Formed for the purpose of providing automobile services, the
corporate office and business was located at 36XX Cass Avenue. The registered
agent was Tiffany Sutton; the owner was Arvis Dunbar.
c. A-1l Mo’s Towing and Recovery, LLC (A-1 Mo’s Towing) — Formed for the
purpose of towing and recovery, the business location was 60XX Bermuda Road;
the registered agent and owner was Morris Davis.
d. Fisher, Preston, Wess. Salvage (Fisher, Preston, Wess) — Formed for the purpose
of automobile repairs, sales, and towing with several business locations including
10XX Case Avenue and 25XX N. 22™ Street and was owned by, among others,
Orlando Preston.
e. Majaluk Enterprises (Majaluk) — Formed for the purpose of graphic design and
marketing, located at 60XX Calverton Park Lane and owned and operated by

Sheldon Mitchell.
Case 2:22-cv-02048-JAR-ADM Document17-8 Filed 06/03/22 Page 9 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 9 of 74 PagelD #: 105

f. Smith and Sons Auto and Rite Way Group — Formed for the purpose of
automobile repair, located at 11 XXX Riverview and then at 11XXX Midland,
owned and operated by Michael Smith.

g. R&R Auto — Formed for the purpose of automobile sales, primarily dealing in
salvage vehicles, the business was located at 50XX Horner, Jefferson City,
Missouri, and operated by Robert Reece.

h. Exotic Auto — Formed for the purpose of automobile sales, its principal place of
business was 31XX Lancaster Road, Dallas, Texas, and was owned and operated
by Reginald Davis. Various members of the conspiracy bought and sold vehicles
as agents or representatives of Exotic Auto.

THE DEFENDANTS

16. Defendant Shahadu Sutton recruited and assisted straw purchasers to, and did himself,
purchase vehicles from automobile dealerships with loans from financial institutions with no
intention of fulfilling the loan obligations. Defendant Shahadu Sutton, or a member of the
conspiracy, then sold those vehicles. Under the auspices of his businesses, Defendant Shahadu
Sutton received vehicles which were stolen, misappropriated by members of the conspiracy, or
voluntarily relinquished by individuals without the lien holder’s consent and: 1) created false
invoices for repair work never performed, then requested payment from the lien holder and/or
falsely obtained mechanic lien title on the vehicles; 2) falsely obtained duplicate title on the.
vehicles; or 3) assisted other members of the conspiracy to do 50, and then sold, or attempted
to sell, the vehicles to businesses or persons not aware of the vehicle’s theft. Defendant
Shahadu Sutton also staged accidents and collected insurance proceeds after filing false claims

of loss with insurance companies.
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 10 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 10 of 74 PagelID #: 106

17. Defendant Tiffany Sutton, wife of defendant Shahadu Sutton, knowingly notarized
false title applications, lien releases, and mechanic lien documents. Defendant Tiffany Sutton
recruited straw purchasers and drove and sold vehicles stolen or misappropriated by members
of the conspiracy.

18. Defendant Morris Davis, through his business, towed and stored vehicles to further the
conspiracy and to evade law enforcement detection and identification of the vehicles involved.
Defendant Morris Davis falsely made and notarized duplicate and mechanic lien title
applications and falsély notarized lien releases. Defendant Morris Davis also sold vehicles that
had been stolen or misappropriated by members of the conspiracy.

19. Defendant Orlando Preston operated a “chop shop” for the conspiracy. Defendant
Orlando Preston sold vehicles stolen by members of the conspiracy and obtained fraudulent
Osage Nation titles on stolen vehicles through defendant William Smith.

20. Defendant William Smith fraudulently obtained Osage Nation titles on vehicles stolen
or misappropriated by members of the conspiracy.

21. Defendant Reginald McNeary recruited and assisted “straw purchasers” to purchase
vehicles for him and other members of the conspiracy, drove and sold vehicles stolen by
members of the conspiracy, and staged (and recruited others to stage) accidents to falsely
obtain insurance proceeds.

22. Defendant Robert Reece received or purchased vehicles stolen or misappropriated by
members of the conspiracy and then resold them through his business, helping to obfuscate the
thefts. Various members of the conspiracy acted as “agents” of R&R Auto to facilitate the

theft and resale of vehicles. Defendant Robert Reece himself drove vehicles stolen by the

conspiracy.

10
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 11 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 11 of 74 PagelD #: 107

23. Defendant John Hicks recruited and assisted “straw purchasers” to purchase vehicles
for members of the conspiracy. Defendant John Hicks and his wife drove vehicles stolen by
members of the conspiracy.

24. Defendant Reginald Davis recruited notaries to falsely notarize documents. Defendant
Reginald Davis obtained the proceeds from the sale of some vehicles stolen by members of the
conspiracy.

25. Defendant Randy Terrell recruited others to, and did himself, steal vehicles from out-
of-state and Missouri automobile dealerships. Defendant Randy Terrell facilitated the sale of
stolen vehicles by utilizing fraudulent titles from the State of Georgia. Defendant Randy
Terrell obtained drive-away license plates that were used to disguise the stolen nature of
several vehicles.

26. Defendant Lonnie Jordan recruited others to, and did himself, steal vehicles from out of
state and Missouri automobile dealerships.

27. Defendants Steven Pirtle, Terrelle Marion, Jermaine Gamble and Denver Carroll IT,
drove and/or stored vehicles stolen by members of the conspiracy and, defendant Steven Pirtle
through his business, towed vehicles involved in staged accidents.

28. Defendant Sheldon Mitchell manufactured and provided to members of the conspiracy
fraudulent documents, such as: lien releases, emission inspections, bills of sale, titles, and
earnings statements.

29, Defendant Chester Wilson drove and sold vehicles stolen by members of the
conspiracy.

30. Defendant Arvis Dunbar created false invoices for repair work never performed on

vehicles under his business which were submitted to DOR to falsely obtain, and attempt to

11
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 12 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 12 of 74 PagelD #: 108

obtain, mechanic lien title on vehicles otherwise stolen or misappropriated by members of the
conspiracy. Defendant Arvis Dunbar drove vehicles stolen by members of the conspiracy.

31. Defendant Eugene Dunbar acted as a “straw purchaser” obtaining vehicles by means of
false statements and relinquished them to members of the conspiracy.

32. Defendant Michael Smith created false invoices for repair work which were submitted
to DOR to falsely obtain and attempt to obtain mechanic lien titles on vehicles otherwise
stolen or misappropriated by members of the conspiracy. -

33. Defendant Joseph Pearson misappropriated vehicles for insurance fraud purposes and
delivered them to members of the conspiracy.

THE VEHICLES

34. The vehicles involved in the criminal activity referenced in this Indictment are fully

described below. Each mention in the Indictment to a vehicle by number, (for example,

Veh. 1) shall by reference and incorporation of the below list, be a complete description of the

 

 

 

 

 

 

 

 

 

 

 

 

vehicle.

[# [YEAR | MAKE MODEL VIN
1 | 2006. | PONTIAC GRAND PRIX 2G2WP552861281804
2 [2000] LAND ROVER DISCOVERY SALTY1540YA259173
3. |2006 | CHEVROLET CORVETTE 1G1YV36U065124023

4 [2007 | CADILLAC ESCALADE 1GYFK66857R366850
5 |2004 | BMW X5 WBAEH73464B190772
6 12003. | INFINITY G35 INK CV54E73M224282
7 12005 | BMW X5 | 5UXFBS53545LV12745
8 (2006 | DODGE MAGNUM 2D8GV77316H275794
9 |2008 | MERCEDES $550 WDDNG71X48A172405
10 {2002 | CADILLAC ESCALADE 3G YEK63N82G206010

 

 

 

 

 

 

12
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 13 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 13 of 74 PagelD #: 109

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| 11 12006 | DODGE CHARGER 2B3KA43G86H530552
12 2004 PONTIAC GRAND PRIX 2G2WS522341209019
| 13 | 2006 BMW 750 WBAHL83506DT04816
4 2007 CADILLAC ESCALADE 1GYFK63867R237102
| 15 | 2005 CADILLAC | STS 1G6DC67A 150218985
| 16 | 2002 MERCEDES | S500V WDBNG75J22A294461
| 17 | 2007 LINCOLN MARK LT | 5LTPW18597FJ07782
18 | 2007 CADILLAC ESCALADE ) 1GYEC63857R273890
| 19 | 2004 BMW 645CI | WBAEK73494B320027
| 20 | 2003. | FORD MUSTANG | LEAF P48Y13E300953
21 =| 2006 DODGE DURANGO | 1D4HB48296F 153298
22 | 2002 CHEVROLET BLAZER 1GNDT13W62K225228
23 +| 2002 FORD F-150 1FTRW073X2KD19421
24 | 2004 GMC YUKON 1GKFK16134J186942
25 | 2008 CHEVROLET SILVERADO 3GCEC13078G242502
[26 | 2008 | CHEVROLET AVALANCHE 3GNFK12328G201527
27—-| 2001 DODGE VIPER 1B3ER6SE31V703049
28 | 2004 FORD EXPEDITION 1FMPU15L54LB44770
|29 2002 CADILLAC | ESCALADE 1GYEK63N62R104771
| 29A | 2002 CADILLAC | ESCALADE 1GYEK63N52R262518
30 =| 2008 CHEVROLET IMPALA 2G1WD58C489110098
31 | 2004 LINCOLN NAVIGATOR 5LMFU28R84LJ23412
32 | 2006 BMW 750 “| WBAHL83586DT01923
33 | 1999 CHEVROLET TAHOE 1GNEC13R8XJ533707
34 | 1999 FORD EXPLORER 1FMZU34E4XZA 72288
35 | 2002 BUICK RENDEZOUS 3G5DB03E02S573454
36 | 1985 CHEVROLET | PICK UP 1GCGC24M4FF330499
37 | 2006 DODGE | CHARGER 2B3KA53H06H340730
38 | 2008 CHEVROLET | IMPALA 2G1WD58C589161383

 

 

 

 

 

13

 

 
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 14 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 14 of 74 PagelD #: 110

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| 39 =| 2008 | PONTIAC GRAND PRIX 2G2WP552781107001

| 40 [2002 . | FORD PICK UP 1FTRW07332KD47741
41 | 2007 DODGE CHARGER 2B3LA43R87H815324
42 | 2010 GMC YUKON 1GKUKMEF7AR127393
| 43 | 2011 CADILLAC ESCALADE 3GYT4NEF3BG 104339
44/2011 _ | FORD F-250 1FT7W2BT7BEA78314_ |

| 45 - | 2011 CHEVROLET CAMARO 2G1FK1EJ6B91 19524
46 | 2011 CADILLAC ESCALADE 1GYS4BEF2BR133177

| 47 | 2011 GMC YUKON 1GKS2EEF7BR206576
48 | 2009 AUDI A8L WAURV78T19A005521
49 | 2008 JEEP GRAND 1J8HR78378C 183898

CHEROKEE

50 2011 FORD F150_ | LFTFW1E61BFB00779
151 | 2011 HYUNDAI SONATA 5NPEB4AC5BH077842
52 | 2010 DODGE CHARGER 2B3CA3CV0AH127882
53 | 2010 DODGE CHARGER 2B3CA3CV5AH196440
54 2010 CHEVROLET CAMARO 2G1FK1EJ3A9148669
85 | 2011 | CADILLAC ESCALADE 1GYS4CEF0BR130476
56 2008 CADILLAC | EXT 3GYFK62818G117047
57 | 2007 FORD F150 1FTPW14V17KA94669
58 | 2008 FORD EDGE | 2FMDK39C88BB33797
59 INTENTIONALLY LEFT 1 BLANK

i 60 INTENTIONALLY LEFT BLANK

| 61 INTENTIONALLY LEFT BLANK

62 INTENTIONALLY LEFT BLANK
63 INTENTIONALLY LEFT | BLANK

64 | 2010 FORD F150 IFTFWIEV7AFA73836
64A | 2005 FORD F150 IFTPW14555FA 74317
65 | 2005 FORD EXPEDITION 1FMFU18575LA87451

 

 

14

 

 
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 15 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 15 of 74 PagelD #: 111

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| 66 | 2007 MERCEDES S550 WDDNG71X37A069698
| 67 | 2010 NISSAN MAXIMA IN4AA51E2AC833969
| 68 | 2005 FORD F150 | 1FTPW12585F A40228
69 | 2005 FORD EXPEDITION | 1FMFU18545LA81364
70 =| 2001 LINCOLN LS | 1LNHM$7A01¥689461
70A | 2000 | LINCOLN LS 1LNHM87AXYY875471
71 | 2002 MERCEDES ML320 4JGAB54E52A348659
72 | 2006 LAND ROVER RANGE ROVER SALME15406A217919
23 2008 DODGE CHARGER 2B3KA73WX8H150978
74 | 2007 JEEP GRAND 1J8HR78347C512930
CHEROKEE
75 | 2002 MERCEDES CL600 | WDBPJ78.JX2A 020088
| 76 |2000 | MERCEDES CLK320 | WDBLK65G8YT032784
77 | 2004 INFINITY Q45 INKBF01A34M500973 |
| 78 | 2008 FORD F150 IF TRW14578FA54566
! 79 | 2007 JAGUAR XKR SAJDA44B575B02221
| 80 | 2006 DODGE CHARGER 2B3KA43G26H359653
81 | 2003 PORSCHE CAYENNE WPIAC29P331A90382
82 | 1998 CADILLAC STS 1G6KY5495WU914370
83 | 2002 BMW | 7451 WBAGL63442DP58715
'84 | 2003 MERCEDES SL500 | WDBSK75F93F012107
351 2006 LEXUS _ G43 JTHBN96S165003541
86 | 2004 CHEVROLET MONTE CARLO | 2GiWX12K649300021
87 | 2009 DODGE CHALLENGER 2B3LJ74W89H582778
88 INTENTIONALLY LEFT BLANK
| 89 2007 FORD | F150 1FTPW14V87KD10145
'90 | 2006 LINCOLN MARK LT 5LTPW18546FJ02410
91. INTENTIONALLY LEFT BLANK
is 92 | 2005 INFINITY — 1 G35 ] INKCV54E45M401096

 

 

 

 

 

15

 

 
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 16 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 16 of 74 PagelD #: 112

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| 93 | 2005 BMW 645CI WBAEK73485B323017

94 2005 FORD F650 TOW TRUCK 3FRNF65F25V132439

95 2004 SAAB STATION WAGON | YS3EB591843502585

96 | 2004 MAZDA MX6 JM1FE17N840137714

97 | 2000 FORD FOCUS 3FAFP3134YR222686

fog | 2010 CHEVROLET IMPALA 2G1 WBSEK6A 1196813

99 | 1998 MERCEDES | CLK 320 WDBLJ65G1WF017221

| 100 | 2001 BMW | 3251 WBAAN374X1NJ13679

‘101 | 1999 MERCEDES CLK430 WDBLJ70G6XF059088

| 102 | 1994 | CHEVROLET CAPRICE 1G1BN52P3RR202334

103 | 2006 | CHEVROLET IMPALA 2G1WT58K469314567

104 | 2005 PONTIAC GRAND PRIX 2G2WP522651267936 |

105 | 2001 FORD MUSTANG 1FAFP42X71F 129588

106 | 2004 CHEVROLET SILVERADO 1GCHK29114E124842

| 107 | 2003 MERCURY MARAUDER 2MEHM75V23X666964

108 | 2005 DODGE NEON 1B3ES56C65D203569

109 | 2007 BMW X3 WBXPC93447WE28453

110 | 2011 CHEVROLET CAMARO 2G1FJ3DJ3B9208175

111 | 2006 JEEP GRAND 1J4HR58206C361032
CHEROKEE |

| 112 | 2011 _| CHEVROLET CAMARO 2G1FK1EJ0B9166029

113 | 2006 DODGE CHARGER 2B3KA43G96H102487

| 114 | 2005 GMC YUKON 1GKFK66U35J241218

115 | 2008 BMW x3 WBXPC93498WJ06130

116 | 2006 NISSAN MAXIMA 1N4BA41E86CB52875

117 | 2010 DODGE CHARGER 2B3CA3CV2AH234187

118 | 2002 MERCEDES S430V WDBNG70J22A266554

119 | 2002 | JAGUAR X TYPE SAJEA51D02XC39919

| 120 2001 _| PONTIAC SUNFIRE 1G2JB124117156971 |

 

 

 

 

 

16
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 17 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 17 of 74 PagelD #: 113

 

 

 

 

 

 

121 | 1987 | MERCEDES 300D | WDBEB33D2HA363565
) 122 [2001 | GMC YUKON 3GKFK16T81G181779
| 123 | 2002 VOLKSWAGON | BEETLE 3VWDD21C02M409056
| 124 | 2003 MITSUBISHI GALANT 4A3AA46G93E062384
| 125 2010 FORD EXPEDITION | 1FMJU1J58AEB68686
| 126 | 2006 LAND ROVER RANGE ROVER — | SALME15476A230439

 

 

 

 

—_—1

 

 

THE CONSPIRACY

35. Beginning on an unknown date, but not earlier than March 1, 2005, and continuing
until the present date, in the Eastern District of Missouri and elsewhere,

SHAHADU SUTTON,
TIFFANY SUTTON,
MORRIS DAVIS,
ORLANDO PRESTON,
WILLIAM SMITH,
REGINALD MCNEARY,
ROBERT REECE,
JOHN HICKS,
REGINALD DAVIS,
RANDY TERRELL,
LONNIE JORDAN,
STEVEN PIRTLE,
SHELDON MITCHELL,
CHESTER WILSON, and
ARVIS DUNBAR

the defendants herein, did knowingly combine, conspire, confederate, and agree together and
with other individuals, known and unknown to this Grand Jury, to commit certain offenses
against the United States, including the following:
a. to execute and intend to execute a scheme and artifice to defraud financial
institutions by material falsehoods, and to obtain moneys, funds and credits under the
custody and control of financial institutions, by submitting and causing to be submitted

materially false qualifying information and other fraudulent representations and by active

17
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 18 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 18 of 74 PagelD #: 114

concealment of material facts to allow the conspirators to borrow funds to purchase new
and used vehicles, in violation of Title 18, United States Code, Section 1344;

b. to devise a scheme and artifice to defraud and to obtain money and property by
means of false and fraudulent pretenses, representations, and promises, specifically to
defraud persons, businesses, financial institutions and lien holders of their proprietary
interest in vehicles, and for the purpose of executing the scheme and artifice, and
attempting to do so, knowingly mailed items, and caused items to be delivered by United
States mail, in violation of Title 18, United States Code, Section 1341;

c. to knowingly transport, in interstate commerce, vehicles knowing the vehicles to
have been stolen, in violation of Title 18, United States Code, Section 2312;

d. to knowingly receive, possess, conceal, store, sell, and dispose of a vehicle having
crossed a state boundary after being stolen, knowing the vehicle to have been stolen, in
violation of Title 18, United States Code, Section 2313;

e. to devise a scheme and artifice to defraud and to obtain money and property by
means of false and fraudulent pretenses, representations, and promises, specifically to
defraud persons and insurance companies, and for the purpose of executing the scheme
and artifice, and attempting to do so, knowingly mailed and caused items to be delivered
by United States mail, in violation of Title 18, United States Code, Section 1341.

MANNER AND MEANS

36. The means and methods by which the conspiracy was sought to be accomplished

included, among others, the following:

18
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 19 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 19 of 74 PagelID #: 115

Bank Fraud

a. One or more of the defendants recruited “straw purchasers” to purchase typically
high end new and used vehicles in the St. Louis, Missouri metropolitan area and
elsewhere, with the understanding that the “straw purchasers” would receive something
in value in exchange for relinquishing possession of the vehicles to members of the
conspiracy.

b. One or more of the defendants caused “straw purchasers” to, or the defendants
themselves did, falsely represent their income, employers and addresses on credit
applications submitted to automobile dealerships.

C. One or more of the defendants produced and provided fraudulent earnings
statements in the names of the “straw purchasers” in support of the credit applications
mentioned above.

d, The automobile dealerships, relying on the fraudulent statements made by the
“straw purchasers,” or the defendants themselves, on the credit applications, transmitted
the information to the financial institutions.

e. The “straw purchasers,” or the defendants themselves, knowing at the time that
they would not fulfill their obligations, entered into and signed purchase contracts with
the automobile dealerships and entered into and signed loan security agreements with the
financial institutions.

f. One or more of the defendants instructed the “straw purchasers” not to, or they .
themselves did not, title, register or pay taxes on the purchased vehicle.

g. The “straw purchasers,” either immediately or shortly thereafter, allowed one or

more of the defendants to obtain exclusive possession of the vehicle.

19
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 20 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 20 of 74 PagelD #: 116

h. The “straw purchasers,” or the defendants themselves, defaulted on their loans
either immediately or after a short payment history.

1. One or more of the defendants instructed the “straw purchasers” to file for
bankruptcy to avoid the collection efforts of the financial institutions. Many of the
“straw purchasers” did, in fact, file for bankruptcy.

j. One or more of the defendants, who fraudulently obtained vehicles by the manner
above-described, either utilized the vehicles for their own purpose or traded, sold, or
disposed of the vehicles.

k. ‘Various schemes, as further described in the paragraphs below, were utilized by
one or more of the defendants to fraudulently obtain apparently legitimate title on the
vehicles to facilitate the sale, trade, disposal, or use of the vehicles.

Interstate Transportation of Motor Vehicles

l. One or more of the defendants would and did steal, and cause to be stolen, various
vehicles, including luxury automobiles, sports utility vehicles, and pickup trucks from
individuals and businesses, including automobile dealerships, in the Eastern District of
Missouri and elsewhere, including in the states of Iowa, Hlinois, and Indiana.

m. One or more of the defendants would and did, or caused, the vehicles stolen from
out-of-state automobile dealerships to be transported to the Eastern District of Missouri.
n. One or more of the defendants would and did disable any tracking systems, like
Onstar, on the stolen vehicles so that they couldn’t be traced by law enforcement.

O. Various schemes, as further described in the paragraphs below, were utilized by

one or more of the defendants to fraudulently obtain apparently legitimate title on the

20
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 21 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 21 of 74 PagelID #: 117

vehicles to facilitate the sale, trade, disposal, or use of the vehicles.

Vehicle Title Fraud

p. -One or more of the defendants would, and did, obtain vehicles either by bank
fraud as described above, by interstate theft, as described above, by intrastate theft, by
fraud, or from individuals who voluntarily relinquished their vehicles to the defendants
for various reasons including: the individuals could no longer afford their monthly loan
payments for the vehicles, the individuals no longer wished to own their vehicles, and/or
the individuals sought to receive a cash payment.

q. The individuals who relinquished vehicles to the defendants either abandoned the
vehicle without regard to their obligations to the lien holders, falsely reported the vehicle
stolen, or assisted by one or more of the defendants, falsely claimed to their lien holder
that the vehicle required mechanical work which they could not afford. On some
occasions, the defendants forced individuals, who presented their vehicle for repair work
at businesses controlled by the defendants, to abandon their vehicle by falsely inflating
the cost of repair work performed on the vehicle.

r. The defendants utilized several illegal methods to obtain apparent legitimate
ownership of the vehicles either voluntarily relinquished, stolen or misappropriated. In
some cases, one or more of the defendants falsely applied for a mechanic lien title on the
vehicle by asserting that an individual refused to pay for mechanical or body work
performed on their vehicle (when, in fact, no such work was performed); in some cases,
one or more of the defendants falsely applied for a duplicate title on the vehicle by falsely
purporting to be the.current or a previous owner of the vehicle living at an address

controlled by a member of the conspiracy and falsely asserting that the original title had

21
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 22 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 22 of 74 PagelD #: 118

been lost, damaged, or destroyed, and; in some cases, one or more of the defendants
falsely applied for an original title by submitting fraudulent out-of-state or a fraudulently
obtained Osage Nation title and asserting that such vehicle had been purchased.

S. One or more of the defendants, either themselves or by recruitment, falsely
notarized the applications required to obtain a mechanic lien or duplicate title as
described above. In some cases, in order to circumvent a lien holder’s interest ina
vehicle, one or more defendants submitted a false lien release which was also falsely
notarized.

t. The false applications mentioned above caused DOR to issue various original,
mechanic lien, duplicate and salvage titles, and Osage Nation to issue transfer titles, and
mail them to addresses in the Eastern District of Missouri as determined by the
defendants.

u. One or more of the individuals who voluntarily relinquished their vehicle to the
defendants, filed for bankruptcy to avoid replevin actions, either on their own accord or
because they were advised to do so by one or more of the defendants.

Vv. Having obtained apparent legitimate ownership of the vehicle, the defendants
would then either sell the vehicle to an unsuspecting third party or give the vehicle to an
accomplice or another defendant or another individual who had voluntarily relinquished
their own vehicle to the defendants.

Insurance Fraud

w. One or more of the defendants fraudulently obtained money from insurance

companies by insuring vehicles against theft and property damage (often stolen or

22
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 23 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 23 of 74 PagelD #: 119

misappropriated by members of the conspiracy), and then making false theft and property
damage claims with the insurance companies.

Xx. It was part of the scheme to solicit people with pre-existing property damage
coverage to file fraudulent claims with their insurance companies. -

y- One or more of the defendants caused others to, or did themselves, falsely report
to police the theft of a vehicle which in fact was not stolen by an unknown party but was
misappropriated. by members of the conspiracy for the purpose of obtaining insurance
proceeds.

Z. One or more of the defendants falsely created the appearance of an automobile
accident, either single or multiple vehicle, by intentionally damaging the vehicles, or
“staging” accidents, when in fact the vehicles involved were under the defendants’
control and were not in accidents.

aa. It was part of the scheme to falsely report to police as accidents the incidents
described in the above paragraph.

bb. It was part of the scheme to falsely complain of pain resulting from the incidents
described in paragraph z and to request medical attention.

ce. One or more of the defendants caused others to, or did themselves, make false
property damage claims to the insurance companies requesting payment for these staged
accidents and for medical issues that did not exist.

dd. One or more of the defendants caused others to, or did themselves, submit to the
insurance companies false and fictitious invoices, towing and storage bills, and other
documents that fraudulently over inflated expenses related to property damage claims

arising out of the staged accidents.

23
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 24 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 24 of 74 PagelD #: 120

Methods of Concealment

ee. One or more of the defendants caused others to, or did themselves, obtain title on

a vehicle of a similar year, make, and model as a vehicle stolen or misappropriated by a
member of the conspiracy and placed that vehicle’s VIN on the stolen vehicle in an
attempt to disguise the theft.
ff. Members of the conspiracy placed license plates belonging to other vehicles and
counterfeit licenses or temporary licenses on stolen vehicles in an attempt to disguise
their theft.
gg. | Members of the conspiracy utilized drive-away and dealer license plates issued to
businesses controlled by members of the conspiracy, which were placed on vehicles
stolen or misappropriated by members of the conspiracy in an attempt to disguise the
vehicles theft.
hh. —_ Individuals recruited by members of the conspiracy to assist in stealing or
misappropriating vehicles in manners described above were compensated by receiving
other vehicles which had been likewise stolen or misappropriated by members of the
conspiracy.

OVERT ACTS

37. In furtherance of the conspiracy and to effect the objects of the conspiracy, the
conspirators committed and caused the following overt acts:

a VEH1

1. On or about December 31, 2007, SEDS (Shahadu Sutton) falsely applied
for, and later received, a mechanic lien title on Veh. 1, sometime after it was

reported stolen by its owner on July 21, 2007.

24
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 25 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 25 of 74 PageID #: 121

2. On or about February 16, 2008, an individual possessed Veh. 1, sometime
after receiving it from Shahadu Sutton.

b. VEH. 2
1. On or about September 2, 2008, Michael Smith falsely applied for a
mechanic lien title on Veh. 2, sometime after it was reported stolen by its owner
on February 26, 2008. The application was rejected by DOR. The vehicle was
recovered by law enforcement at 11XXX Midland on October 31, 2008.

c. VEH. 3
1. On or about June 2, 2008, Eugene Dunbar presented to automobile
dealership Master Cars, Granite City, Illinois, fraudulent earnings statements
indicating he worked for Majaluk, which were produced by Sheldon Mitchell.
2. On or about June 2, 2008, Eugene Dunbar entered into a loan agreement
with GCS Federal Credit Union to finance $47,033.75 to purchase Veh. 3.
Eugene Dunbar made no payments to GCS Federal Credit Union on this loan.
3. On or about June 2, 2008, Eugene Dunbar purchased Veh. 3 from Master
Cars.
4. On or about September 9, 2008, Shahadu Sutton falsely applied for, and
later received, a duplicate title on Veh. 3 in the name of a previous owner at
13XX S. Florissant.
5. On or about June 2, 2009, Shahadu Sutton sold Veh. 3.

d. VEH. 4
1. On or about August 20, 2008, SEDS (Shahadu Sutton) falsely applied for,

and later received, a mechanic lien title on Veh. 4, sometime after GMAC

25
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 26 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 26 of 74 PagelID #: 122

initiated efforts to repossess Veh. 4 from its owner. The affidavit submitted with
the application was notarized by Morris Davis.
2. On or about November 4, 2008, Shahadu Sutton sold Veh. 4.

e. VEH.5
1, On or about October 31, 2006, SEDS (Shahadu Sutton) falsely applied for,
and later received, a mechanic lien title on Veh. 5, sometime after it was reported
stolen by its owner on January 30, 2006. The affidavit submitted with the
application was notarized by Morris Davis.
2. Onor about February 26, 2008, Shahadu Sutton sold Veh. 5

f. VEH. 6
1, On or about March 10, 2005, Michael Smith falsely applied for a _
mechanic lien title or Veh. 6, which was rejected by DOR.
2. On or about August 21, 2007, Smith and Sons (Shahadu Sutton) falsely
applied for, and later received, a mechanic lien title on Veh. 6.
3. On or about April 24, 2008, Shahadu Sutton sold Veh. 6.

g. VEH. 7
1. On or about November 30, 2006, Tiffany Sutton possessed Veh. 7,
sometime after its owner attempted to report it stolen on May 9, 2005.
2. On or about March 21, 2007, SEDS (Shahadu Sutton) falsely applied for,
and later received, a mechanic lien title on Veh. 7. The affidavit submitted with
the application was notarized by Morris Davis.

3. On or about September 25, 2007, Veh. 7 was sold.

26
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 27 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 27 of 74 PagelD #: 123

h. VEH. 8

1. On or about January 14, 2008, SEDS (Shahadu Sutton) falsely applied for,
and later received, a mechanic lien title on Veh. 8, submitted with a false lien
release purporting to be from Chrysler Financial.
2. Between February 25, 2008 and July 16, 2009, Shahadu Sutton sold Veh.
8.
i. VEH. 9
1. On or about December 24, 2009, 3D Auto House (Arvis Dunbar) falsely
applied for, and later received, a mechanic lien title on Veh. 9, sometime after it
was reported stolen by its owner on May 29, 2009. The affidavit submitted with
the application was notarized by Morris Davis.
2. On or about February 18, 2010, Shahadu Sutton relinquished Veh. 9 to
law enforcement through his attorney.
J. VEH. 10
1. On or about December 23, 2009, Morris Davis falsely notarized (1) an
application for duplicate title on Veh. 10 and (2) a lien release purporting to be
from Gateway Metro Credit Union, sometime after the owner relinquished Veh.10
to a member of the conspiracy. The duplicate title was applied for, and later
received, in the name of the owner at 36XX Cass.
2. On or about June 1, 2010, R&R Auto took possession of and later sold

Veh. 10.

27
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 28 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 28 of 74 PagelD #: 124

k. VEH. 11

1. On or about June 9, 2009, Tiffany Sutton falsely notarized an application
for duplicate title on Veh. 11, sometime after its owner voluntarily relinquished it
to Shahadu Sutton. The duplicate title was applied for, and later received, in the
name of a previous owner at 36XX Cass.
2. On or about January 9, 2010, Shahadu Sutton sold Veh. 11.
I. VEH. 12
1. On or about December 23, 2009, Morris Davis falsely notarized an
application for duplicate title on Veh. 12, submitted with a false lien release
purporting to be from Boulevard Bank, sometime after the owner delivered Veh.
12 to A-1 Mo’s Towing for repairs. The duplicate title was applied for, and later
received, in the name of the owner at 36XX Cass.
2. On or about January 2, 2010, a member of the conspiracy sold Veh. 12.
m. VEH. 13
I. On or about January 21, 2009, Shahadu Sutton falsely applied for a loan to
Capital One in the name of T.W..
2. On or about January 24, 2009, T.W. presented to Auto Plaza false earnings
statements which were produced by Sheldon Mitchell.
3. On or about January 24, 2009, Shahadu Sutton and John Hicks induced
T.W. to enter into a loan agreement with Capital One to finance $30,000.00 to
purchase Veh. 13. T.W. did so at the direction of Shahadu Sutton and John Hicks
with the understanding that Shahadu Sutton would be responsible for the loan

obligations. No payments were made on this loan.

28
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 29 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 29 of 74 PagelD #: 125

4, On or about January 24, 2009, T.W. purchased Veh. 13 from Auto Plaza at
the direction of Shahadu Sutton and John Hicks, and immediately relinquished
possession to Shahadu Sutton.

5. On or about July 29, 2009, 3D Auto House (Arvis Dunbar) falsely applied
for, and later received, a mechanic lien title on Veh. 13. The affidavit submitted
with the application was notarized by Tiffany Sutton.
6. On or about September 24, 2009, Shahadu Sutton sold Veh. 13 through
consignment with ST Auto.

n. VEH. 14
1, On or about January 2, 2009, Shahadu Sutton falsely applied for a loan to
Capital One in the name of C.B..
2. On or about January 10, 2009, C.B. presented to Dave Mungenast Lexus
fraudulent earnings statements which were produced by Sheldon Mitchell.
3, On or about January 10, 2009, Shahadu Sutton and John Hicks induced
C.B. to enter into a loan agreement with Capital One to finance $37,159.00 to
purchase Veh. 14. C.B. did so at the direction of Shahadu Sutton and John Hicks
with the understanding that Shahadu Sutton would be responsible for the loan
obligations. No payments were made on this loan.
4, On or about January 10, 2009, C.B. purchased Veh. 14 from Dave
Mungenast Lexus at the direction of Shahadu Sutton and John Hicks, and

immediately relinquished possession to Shahadu Sutton.

29
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 30 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 30 of 74 PagelD #: 126

5. On or about July 29, 2009, 3D Auto House (Arvis Dunbar) falsely applied
for, and later received, a mechanic lien title on Veh. 14. The affidavit submitted
with the application was notarized by Tiffany Sutton.

6. On or about August 9, 2010, Shahadu Sutton deposited a counterfeit check
in the amount of $39,275.00 to an account at Regions Bank which was ostensibly
the proceeds of his sale of Veh. 14 on that day.
7. On or about July 26, 2011, Shahadu Sutton sold Veh. 14 to Indy

Motor Sports.

oO. VEH. 15

1. On or about January 29, 2010, V.W. presented to Auto Plaza fraudulent
earnings statements which were produced by Sheldon Mitchell.

2. On or about January 29, 2010, Shahadu Sutton and Tiffany Sutton induced
V.W. to enter into a loan agreement with AmeriCredit to finance $15,899.00 to
purchase Veh. 15. V.W. did so at the direction of Shahadu Sutton and Tiffany
Sutton with the understanding that Shahadu Sutton would be responsible for the
loan obligations. No payments were made on this loan.

3. On or about January 29, 2010, V.W. purchased Veh. 15 from Auto Plaza
at the direction of Shahadu Sutton, and immediately relinquished possession to

Shahadu Sutton.

4. On or about February 10, 2010, Morris Davis returned Veh. 15 to Auto

Plaza with front end damage.

30
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 31 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 31 of 74 PagelID #: 127

p.  VEH. 16

1. On or about January 18, 2009, the owner of Veh. 16 reported it stolen at
the direction of Shahadu Sutton, sometime after the owner voluntarily
relinquished Veh. 16 to Shahadu Sutton without the permission of the lien holder,
Vantage Credit Union.
2. On or about January 21, 2010, Morris Davis filed a vehicle owner and lien
holder notification (Form 4577) with DOR falsely stating that he towed Veh. 16
as abandoned property. Veh. 16 was recovered by law enforcement at A-1 Mo’s
Towing on January 26, 2010.

q. VEH. 17
1. On or about May 7, 2007, Shahadu Sutton and Tiffany Sutton induced
ELL. to enter into a loan agreement with Ford Motor Credit to finance $33,453.99
to purchase Veh. 17. E.L. did so at the direction of Shahadu Sutton and Tiffany
Sutton with the understanding that Shahadu Sutton would be responsible for the
loan obligations. Although some payments were made on this loan, it did default.
2. On or about May 7, 2007, E.L., at the direction of Shahadu Sutton,
purchased Veh. 17 from McMahon Lincoln-Mercury, and immediately
relinquished possession to Shahadu Sutton.
3. On or about April 5, 2010, Shahadu Sutton and Tiffany Sutton obtained
property damage coverage on Veh. 17 from Progressive Insurance.
4, On or about June 1, 2010, Shahadu Sutton falsely claimed to be in a single

car accident in Veh. 17, inducing Progressive Insurance to issue a check payable

31
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 32 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 32 of 74 PagelID #: 128

to Shahadu Sutton in the amount of $10,372.32. Veh. 17 was repossessed by Ford
Motor Credit at Shahadu Sutton’s residence on December 14, 2010.

r. VEH. 18
1. On or about December 23, 2009, 3D Auto House (Arvis Dunbar) falsely
applied for, and later received, a mechanic lien title on Veh. 18, sometime after
Ally, the lien holder, attempted to repossess Veh. 18 from its owner. The
application was notarized by Morris Davis.
2. On or about February 2, 2010, Shahadu Sutton and Tiffany Sutton
obtained property damage coverage on Veh. 18 from Progressive Insurance.
3. On or about July 18, 2010, Shahadu Sutton falsely reported Veh. 18 stolen
and filed a claim of loss to Progressive Insurance.
4, On or about July 22, 2010, Shahadu Sutton and Tiffany Sutton applied for,
and later received, original title on Veh. 18 claiming that Veh. 18 was purchased
from Arvis Dunbar on January 14, 2010.
5. On or about February 10, 2011, Shahadu Sutton sold Veh. 18,

S. VEH. 19
1. On or about July 1, 2009, K.S. voluntarily relinquished Veh. 19 to
Shahadu Sutton without the permission of the lien holder, West Community

Credit Union.

2. On or about August 4, 2009, Shahadu Sutton mailed a mechanic lien
notice to West Community Credit Union with an invoice attached, falsely

claiming that 3D Auto House performed $17,170.93 worth of repairs to Veh. 19.

32
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 33 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 33 of 74 PagelD #: 129

3. ‘On or about December 9, 2009, West Community Credit Union mailed a
check payable to 3D Auto House in the amount of $13,000.00 to prevent the
issuance of a mechanic lien title. West Community Credit Union later took
possession of Veh. 19.

t. VEH. 20
1. On or about September 8, 2008, K.S., at the direction of Reginald
McNeary, falsely reported Veh. 20 as stolen, after K.S. voluntarily relinquished
possession to Reginald McNeary without the permission of the lien holder,
Capital One.
2. On or about October 30, 2008, Progressive Insurance, based on the claim
of loss filed by K.S., mailed a check payable to Capital One in the amount of
$9,775.00. Veh. 20 was unrecovered.

u. VEH. 21
1. On or about April 7, 2009, Steven Pirtle possessed Veh. 21, sometime
after it was reported stolen by its owner on June 27, 2007.

v. VEH. 22

1. On or about April 7, 2009, Steven Pirtle possessed Veh. 22, sometime
after it was reported stolen by its owner on June 26, 2008.

WwW. VEH. 23

1. On or about June 16, 2006, Morris Davis falsely notarized an application
for duplicate title on Veh. 23, submitted with a false lien release purporting to be

from First Investors Financial, sometime after the owner delivered Veh. 23 to A-1

33
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 34 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 34 of 74 PagelD #: 130

Mo’s Towing for repairs. The duplicate title was applied for, and later received,
in the name of the owner at an address controlled by a member of the conspiracy.
2. On or about September 20, 2006, Eugene Dunbar faxed a fraudulent repair
bill in the amount of $9,355.17 for Veh. 23 to First Investors Financial.
3. On or about December 26, 2006, a member of the conspiracy sold
Veh. 23.

xX. VEH. 24
1, On or about December 23, 2009, Morris Davis falsely notarized a
duplicate title application for Veh. 24, sometime after the owner delivered Veh.
24 to A-1 Mo’s Towing for repairs. The duplicate title was applied for, and later
received, in the name of a previous owner at 36XX Cass.

y. VEH. 25
1. On or about July 28, 2009, Shahadu Sutton relinquished Veh. 25 to law
enforcement through his attorney, sometime after it was reported stolen by Johnny
Londoff Chevrolet on September 17, 2008.

Z. VEH. 26
i. On or about July 24, 2009, Shahadu Sutton relinquished Veh. 26 to law

_ enforcement through his attorney, sometime after it was reported stolen by Johnny

Londoff Chevrolet on September 17, 2008.

aa. VEH. 27

1. On or about September 24, 2008, V.W. presented to Fast Lane Classic

Cars fraudulent earnings statements which were produced by Sheldon Mitchell.

34
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 35 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 35 of 74 PagelID #: 131

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2. On or about September 24, 2008, Shahadu Sutton and Tiffany Sutton
induced V.W. to enter into a loan agreement with Vantage Credit Union to
finance $36,595.00 to purchase Veh. 27. V.W. did so at the direction of Shahadu
Sutton with the understanding that Shahadu Sutton would be responsible for the
loan obligations. No payments were made on this loan.

3. On or about September 24, 2008, V.W. purchased Veh. 27 from Fast Lane
Classic Cars at the direction of Shahadu Sutton, and immediately relinquished
possession to Shahadu Sutton.

4. On or about November 17, 2008, Shahadu Sutton, falsely applied for, and
later received, duplicate title on Veh. 27, in the name of a previous owner at
13XX S. Florissant.

5. On or about October 28, 2008, Shahadu Sutton and Tiffany Sutton
obtained property damage coverage from State Farm Insurance on Veh. 27.

6. On or about November 9, 2008, Shahadu Sutton fraudulently reported that
he was involved in a single car accident while driving Veh. 27, inducing State
Farm Insurance to issue a check payable to Shahadu Sutton in the amount of
$38,916.50.

7. On or about January 22, 2009, Arvis Dunbar, on behalf of R&R Auto,
bought Veh. 27. Veh. 27 was later exported to Canada on August 29, 2009.
VEH. 28

1. On or about August 10, 2008, M.D., at the direction of Reginald Davis,
notarized a false lien release on Veh. 28, purporting to be from Ford Motor

Credit.

35
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 36 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 36 of 74 PagelD #: 132

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2. On or about August 10, 2008, Morris Davis falsely notarized an
application for duplicate title on Veh. 28, sometime after the owner submitted
Veh. 28 for repairs at SEDS. The duplicate title was applied for, and later
received, in the name of the owner at 13XX S. Florissant.

3. On or about August 15, 2008, Shahadu Sutton sold Veh. 28 to T.P..

VEH. 29

1. On or about May 28, 2008, Rite Way Group (Michael Smith) falsely
applied for duplicate salvage title on Veh. 29, sometime after Veh. 29 was
reported stolen by its owner. The duplicate salvage title was applied for, and later
received, in the name of a previous owner at 11 XXX Midland.

2. On or about September 2, 2008, Shahadu Sutton sold Veh. 29 to Ken’s
American Motors using duplicate title issued on Veh. 29(a), sometime after Veh.
29(a) was voluntarily relinquished by A.W. to a member of the conspiracy
without the permission of the lien holder, Electro Savings Credit Union.

VEH. 30

1. On or about May 11, 2010, Morris Davis falsely notarized (1) an
application for duplicate title on Veh. 30, and (2) a false lien release purporting to
be from BNY Midwest Trust, sometime after M.T. voluntarily relinquished Veh.

30 to Shahadu Sutton and Robert Reece without the permission of the lien holder,

GMAC. The duplicate title was applied for, and later received, in the name of a

previous owner, Hertz Vehicles LLC, at 99XX Lewis and Clark.

36
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 37 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 37 of 74 PagelD #: 133

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2. On or about July 1, 2010, Robert Reece obtained original title on Veh. 30
claiming he purchased it from Hertz Vehicles, LLC. Robert Reece sold Veh. 30
on August 6, 2010.

VEH. 31

1. On or about March 23, 2010, Morris Davis falsely notarized (1) an
application for duplicate title on Veh. 31, and (2) a false lien release purporting to
be from BNY Midwest Trust, sometime after the owner submitted Veh. 31 to A-1
Mo’s Towing for repairs. The duplicate title was applied for, and later received,
in the name of a previous owner, Hertz Vehicles, LLC at 99XX Lewis and Clark.
Later Morris Davis gave Veh. 31 to K.D..

VEH. 32

1, On or about June 7, 2010, Morris Davis falsely notarized an application
for duplicate title on Veh. 32, sometime after the owner voluntarily relinquished
Veh. 32 to Shahadu Sutton through a third party without the permission of the lien
holder, Chrysler Financial. The duplicate title was applied for, and later received,
in the name of a previous owner, Marty Cancila Dodge, at 99XX Lewis and
Clark.

2. On or about June 30, 2010, Morris Davis falsely notarized an application
for original title on Veh. 32 claiming he, on behalf of A-1 Auto, purchased Veh.
32 from Marty Cancila Dodge on June 15, 2010.

3. On or about November 27, 2010, Shahadu Sutton and Tiffany Sutton

obtained property damage coverage on Veh. 32 from Omni Insurance.

37
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 38 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 38 of 74 PagelD #: 134

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4, On or about January 14, 2011, Reginald McNeary staged an accident
directing K.Y. to deliberately drive a rented pickup truck into Veh. 32.

5. On or about January 26, 2011, Shahadu Sutton made a claim for loss
resulting from the staged accident, inducing Omni Insurance to issue a check
payable to R&R Auto and Shahadu Sutton in the amount of $9,999.63.

6. On or about April 19, 2011, William Smith falsely obtained an Osage
Nation transfer title on Veh. 32 and sold it on April 22, 2011.

VEH. 33

l. On or about June 2, 2010, Morris Davis falsely notarized an application
for duplicate title on Veh. 33, sometime after the owner voluntarily relinquished
possession of Veh. 33 to a third party without the permission of the lien holder,
Midwest Acceptance. The duplicate title was applied for, and later received, in
the name of a previous owner, St. John Motor Company, at 99XX Lewis and
Clark.

VEH. 34

1. ‘On or about April 26, 2010, Morris Davis falsely notarized (1) an
application for duplicate title on Veh. 34 and (2) a false lien release purporting to
be from National Auto Finance, sometime after the owner abandoned Veh. 34.
The duplicate title was applied for, and later received, in the name of the owner, at

99XX Lewis and Clark.

38
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 39 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 39 of 74 PagelID #: 135

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VEH. 35

1. On or about May 30, 2010, Morris Davis falsely notarized (1) an
application for duplicate title on Veh. 35 and (2) a false lien release purporting to
be from Universal Credit Acceptance, sometime after Veh. 35 was stolen from the
owner. The duplicate title was applied for, and later received, in the name of a
previous owner, at 99XX Lewis and Clark.

VEH. 36

1. On or about May 5, 2010, Morris Davis falsely notarized an application
for duplicate title on Veh. 36. The duplicate title was applied for, and later
received, in the name of a previous owner, at 99XX Lewis and Clark.

VEH. 37

1. On or about May 10, 2010, Morris Davis falsely notarized (1) an
application for duplicate title on Veh. 37 and (2) a false lien release purporting to
be from Chrysler Financial, sometime after the owner voluntarily relinquished ©
Veh. 37 to Morris Davis without the permission of the lien holder, Chrysler
Financial. The duplicate title was applied for, and later received, in the name of
the owner, at 99XX Lewis and Clark.

2. On or about May 18, 2010, Shahadu Sutton sold Veh. 37 through
consignment with ST Auto.

VEH. 38

1, On or about June 21, 2010, Morris Davis falsely notarized (1) an
application for duplicate title on Veh. 38 and (2) a false lien release purporting to

be from Wells Fargo, sometime after Veh. 38 was voluntarily relinquished to

39
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 40 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 40 of 74 PagelD #: 136

Shahadu Sutton by M.T. without the permission of the lien holder, Wells Fargo.
The duplicate title was applied for, and later received, in the name of the owner at
78XX N. Broadway.
2. On or about July 15, 2010, Robert Reece applied for, and later received,
original title on Veh. 38, falsely claiming that he purchased Veh. 38 from the
owner on July 11, 2010.
3. On or about July 27, 2010, Shahadu Sutton attempted to sell Veh. 38
through consignment with ST Auto.

mm. VEH. 39
1. On or about July 1, 2010, Morris Davis falsely notarized (1) an application
for duplicate title on Veh. 39 and (2) a false lien release purporting to be from
Drive Financial, sometime after Veh. 39 was stolen from the owner. The
duplicate title was applied for, and later received, in the name of the owner at
78XX N. Broadway.
2. On or about July 15, 2010, Robert Reece applied for original title on Veh.
39, falsely claiming that he purchased Veh. 39 from the owner on July 11, 2010.
3. On or about July 27, 2010, Shahadu Sutton attempted to sell Veh. 39
through consignment with ST Auto.

nn.  VEH. 40
1. On or about December 22, 2009, Morris Davis falsely notarized (1) an
application for duplicate title on Veh. 40 and (2) a false lien release purporting to

be from St. Louis Postal Credit Union, sometime after the owner submitted Veh.

40
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 41 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 41 of 74 PagelID #: 137

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40 to SEDS for repairs. The duplicate title was applied for, and later received, in
the name of the owner at 36XX Cass.

2. On or about January 12, 2010, Shahadu Sutton sold Veh. 40 through
consignment with OK Auto.

VEH. 42

1. Between January 24, 2011 and January 26, 2011, a member of the
conspiracy stole Veh. 42 from automobile dealership Lighthouse Automotive,
Morton, Illinois.

2. On or about July 23, 2011, Arvis Dunbar possessed Veh. 42, with drive-
away plates issued to T&S Auto (Randy Terrell), in the Eastern District of
Missoutt.

VEH. 43

1. On or about February 23, 2011, a member of the conspiracy stole Veh. 43
from automobile dealership Brad Deery Motors, Maquoketa, Iowa.

2. On or about April 19, 2011, William Smith falsely obtained an Osage
Nation transfer title on Veh. 43.

3. On or about May 16, 2011, Chester Wilson, acting as an agent for Exotic
Auto, sold Veh. 43 to Manheim utilizing the falsely obtained Osage Nation
transfer title, claiming that. he purchased Veh. 43 from William Smith on April 2,
2011. Manheim issued a check payable to Exotic Auto in the amount of

$53,855.00 which was endorsed by Shahadu Sutton.

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Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 42 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 42 of 74 PagelD #: 138

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VEH. 44

1. Between July 20, 2010 and August 12, 2010, a member of the conspiracy
stole Veh. 44 from automobile dealership Mike Murphy Ford, Morton, Illinois.
2, On or about April 4, 2011, Chester Wilson sold Veh. 44 to Manheim.
Manheim issued a check payable to Exotic Auto in the amount of $39,950.00
which was endorsed by Reginald Davis.

3. On or about April 19, 2011, William Smith falsely obtained an Osage
Nation transfer title on Veh. 44

4. On or about May 2, 2011, Chester Wilson presented the falsely obtained
Osage Nation transfer title to Manheim, falsely claiming he had purchased Veh.
44 from William Smith on April 2, 2011.

VEH. 45

1. Between January 3, 2011 and February 15, 2011, a member of the
conspiracy stole Veh. 45 from automobile dealership Shottenkirk Automotive,
Mt. Pleasant, Iowa.

2. On or about May 26, 2011, B.C. possessed Veh. 45 in the Eastern District
of Missouri, with drive-away plates issued to a business associated with Robert

Reece.
3. On or about July 20, 2011, William Smith falsely obtained an Osage
Nation transfer title on Veh. 45. On or about July 28, 2011, William Smith signed

a DOR Form 768 falsely stating that he gave Veh. 45 to B.C. as a gift.

42
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 43 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 43 of 74 PagelID #: 139

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VEH. 46

1. Between May 9, 2011 and May 16, 2011, a member of the conspiracy
stole Veh. 46 from automobile dealership Billion Auto, lowa City, Iowa.

2. On or about May 23, 2011, Randy Terrell submitted a false application for
original title on Veh. 46 in the name of Allie Jordan. Submitted with the
application was a Form 768, ostensibly signed by Chris Jordan, falsely stating that
he gave Allie Jordan Veh. 46 on April 17, 2011, attached to a fraudulent Georgia
title indicating that Chris Jordan purchased Veh. 46 on April 17, 2011. Veh. 46
was recovered on February 28, 2012 in California with a fraudulent VIN
displayed.

VEH. 48

1. On or about April 28, 2011, a member of the conspiracy stole Veh. 48
from automobile dealership Palmer Dodge, Roswell, Georgia.

2. On or about September 26, 2011, William Smith falsely obtained an
Osage Nation transfer title on Veh. 48.

3. On or about September 29, 2011, Shahadu Sutton attempted to sell Veh.
48 to Manheim as an agent for R&R Auto.

VEH. 49

1. On or about July 11, 2011, Reginald McNeary stole Veh. 49 from its
owner.

2. On or about July 20, 2011, William Smith falsely obtained an Osage

Nation transfer title on Veh. 49.

43
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 44 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 44 of 74 PagelD #: 140

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3. On or about July 26, 2011, Shahadu Sutton attempted to sell Veh. 49 to

Copart as an agent of R&R Auto.

4, On or about August 24, 2011, Shahadu Sutton possessed Veh. 49 in the

. Eastern District of Missouri.

VEH. 50

1. On or about April 8, 2011, a member of the conspiracy stole Veh. 50 from
automobile dealership Louis Lakis Ford, Galesburg, Illinois.

2. On or about June 17, 2011, Shahadu Sutton sold Veh. 50 to Copart
utilizing a fraudulent Georgia title which purported to document the purchase of
Veh. 50 by Randy Terrell, T&S Auto Rebuilders, on May 23, 2011 and
subsequent sale to Ron McNeary, R&R Auto on May.27, 2011.

VEH. 51

1. On or about June 14, 2011, a member of the conspiracy stole Veh. 51 from
automobile dealership Billion Hyundai, Iowa City, Iowa.

2. On or about July 24, 2011, Jermaine Gamble possessed Veh. 51 in the
Eastern District of Missouri.

VEH. 52

1. On or about June 14, 2011, a member of the conspiracy stole Veh. 52 from
Billion Hyundai.
2. ‘On or about July 24, 2011, Jermaine Gamble possessed Veh. 52 in the

Eastern District of Missouri.

44
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 45 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 45 of 74 PagelD #: 141

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VEH. 53

1. On or about June 14, 2011, a member of the conspiracy stole Veh. 53 from
Billion Hyundai.

2. On or about September 18, 2011, W.L. possessed Veh. 53 in the Eastern
District of Missouri.

VEH. 54

1. On or about January 4, 2011, a member of the conspiracy stole Veh. 54
from Shottenkirk Automotive.

2. On or about January 21, 2011, Morris Davis purportedly sold Veh. 54 to
John Hicks in the Eastern District of Missouri.

3. On or about February 26, 2011, John Hicks possessed Veh. 54 using
drive-away plates assigned to S&S Auto.

VEH. 56

l. On or about May 11, 2011, a member of the conspiracy stole Veh. 56 from
automobile dealership Marshall Pontiac, Clinton, Indiana.

2. On or about June 20, 2011, Terrelle Marion possessed Veh. 56 in the
Eastern District of Missouri.

VEH. 64

1, Between May 9, 2011 and May 17, 2011, a member of the conspiracy
stole Veh. 64 from automobile dealership J. Wilderman Autoplex, Mt. Carmel,

Illinois.

45
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 46 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 46 of 74 PagelD #: 142

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2. On or about May 8, 2012, Denver Carroll II possessed Veh. 64 in the
Eastern District of Missouri displaying the VIN from Veh. 64(a). Veh. 64(a) was
previously purchased and owned by Denver Carroll III.

VEH. 65

1. On or about August 24, 2011, a member of the conspiracy stole Veh. 65
from Paul Cerame.

VEH. 66

1. Between February and March 2011, Reginald McNeary took possession of
Veh. 66 from T.W., for the ostensible purpose of selling it.

2. On or about June 28, 2011, Robert Reece applied for, and later received,
an original title on Veh. 66 utilizing a fraudulent Georgia title indicating that
R&R Auto (Robert Reece) purchased Veh. 66 on June 28, 2011.

3. On June 30, 2011, Morris Davis possessed Veh. 66 in the Eastern District
of Missouri.

VEH. 68

1. On or about March 5, 2010, Morris Davis falsely notarized an application
for duplicate title on Veh. 68, sometime after Veh. 68 was stolen from its owner
on July 11, 2008. The duplicate title was applied for, and later received, in the
name of American Family Insurance, at 51 XX Washington.

2. On or about July 19, 2011, Robert Reece possessed Veh. 68 with drive-

away plates issued to R&R Auto.

46
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 47 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 47 of 74 PagelD #: 143

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VEH. 70

1. On or about December 13, 2011, Randy Terrell stole Veh. 70 from F ifth
Street Motors.

2. On or about February 3, 2012, M.W., at the direction of Lonnie Jordan,
made a false application for original title on Veh. 70(a), the VIN of which was
placed on Veh. 70.

VEH. 71

1. On or about April 19, 2011, William Smith falsely obtained an Osage
Nation transfer title on Veh. 71, sometime after the owner, a relative of Shahadu
Sutton, stopped making payments to the lien holder, Wells Fargo.

2. On or about May 6, 2011, Shahadu Sutton sold Veh. 71 to Copart utilizing
the Osage Nation transfer title which indicated that R&R Auto purchased Veh. 71
from William Smith.

VEH. 73

1. On or about February 15, 2012, Reginald MeNeary stole Veh. 73 from
Auto Plaza.

2. On or about March 29, 2012, Reginald McNeary possessed Veh. 73 in the
Eastern District of Missouri.

VEH. 75

1. On or about August 11, 2010, Reginald McNeary induced R.G. to enter
into a loan agreement with American Eagle Credit Union to finance $17,243.00 to

purchase Veh. 75. R.G. did so at the direction of Reginald McNeary with the

47
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 48 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 48 of 74 PagelD #: 144

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understanding that Reginald McNeary would be responsible for the loan
obligations. Although some payments were made on this loan, it did default.

2. On or about August 11, 2010, R.G. purchased Veh. 75 from Auto Plaza at
the direction of Reginald McNeary and immediately relinquished possession to
Reginald McNeary.

3. On or about October 6, 2010, Reginald McNeary obtained property
damage coverage on Veh. 75 from Farmer’s Insurance.

4, On or about December 28, 2010, Reginald McNeary intentionally
damaged Veh. 75 and falsely made a claim for loss, inducing Farmer’s Insurance
to issue a check payable to Reginald McNeary and Bills Automotive in the
amount of $6,740.50.

5. On or about March 16, 2012, William Smith falsely obtained an Osage
Nation transfer title on Veh. 75.

6. On or about April 11, 2012, N.B., at the direction of Reginald McNeary,
applied for, and later received, an Illinois title on Veh. 75 utilizing the falsely
obtained Osage Nation transfer title, falsely claiming that he purchased Veh. 75
from William Smith. Veh. 75 was repossessed by American Eagle Credit Union
on or about May 11, 2012.

VEH. 78

1. On or about January 15, 2009, C.B. presented to Sunset Auto, fraudulent
earnings statements which were produced by Sheldon Mitchell.

2. On or about January 15, 2009, Shahadu Sutton and John Hicks induced

C.B. to enter into a loan agreement with Ford Motor Credit to finance $35,732.50

48
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 49 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 49 of 74 PagelID #: 145

to purchase Veh. 78. C.B. did so at the direction of Shahadu Sutton and John

Hicks with the understanding that Shahadu Sutton would be responsible for the

loan obligations. No payments were made on this loan.

3. On or about January 15, 2009, C.B. purchased Veh. 78 from Sunset Auto

at the direction of Shahadu Sutton and John Hicks, and immediately relinquished

possession to Shahadu Sutton.

4. On or about May 1, 2009, Shahadu Sutton submitted to Ford Motor Credit

arepair bill from 3D Auto House falsely claiming that $12,419.54 worth of

repairs was performed on Veh. 78.

5. On or about May 7, 2009, Shahadu Sutton released Veh. 78 to Ford Motor

Credit after receiving a check payable to S&S Auto in the amount of $14,869.00.
kkk. VEH. 79

1. On or about September 16, 2011, Reginald McNeary induced T.S. to enter

into a loan agreement with Scott Credit Union to finance $52,212.00 to purchase

Veh. 79. T.S. did so at the direction of Reginald McNeary with the understanding

that Reginald McNeary would be responsible for the loan obligations. No

payments were made on this loan. Veh. 79 was unrecovered.

2. On or about September 16, 2011, T.S. purchased Veh. 79 from Auto Plaza

at the direction of Reginald McNeary and immediately relinquished possession to

Reginald McNeary.

3, On or about March 5, 2012, Reginald McNeary intentionally damaged

Veh. 79.

49
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 50 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 50 of 74 PagelD #: 146

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VEH. 80

1. On or about April 11, 2008, A-1 Mo’s Towing (Morris Davis), falsely
applied for salvage title on Veh. 80 and, falsely notarized an abandoned property
affidavit, Form 4756, submitted in support, claiming that Morris Davis recovered
Veh. 80 as abandoned property, sometime after the owner relinquished possession
of Veh. 80 to Morris Davis.

2. On or about June 26, 2008, Morris Davis reported Veh. 80 stolen to
Breckenridge Police Department.

3. On or about August 19, 2008, Shahadu Sutton sold Veh. 80 to St. Louis

Car Credit.

. VEH. 81

1, On or about November 10, 2008, Reginald McNeary induced K.S. to enter
into a loan agreement with Vantage Credit Union to finance $28,885.00 to
purchase Veh. 81. K.S. did so at the direction of Reginald McNeary with the
understanding that Reginald McNeary would be responsible for the loan
obligations. Although some payments were made on this loan, it did default.

2. On or about November 10, 2008, K.S. purchased Veh. 81 from Midrivers

Lotus at the direction of Reginald McNeary, and immediately relinquished

possession to Reginald McNeary.

3. Onor about J anuary 18, 2009, Reginald McNeary staged an accident with
Veh. 81 and K.Y.. Reginald McNeary induced K.Y. to file a claim for loss with
Republic Western Insurance. The claim was not paid. Veh. 81 was repossessed

by Vantage Credit Union on or about September 15, 2009.

50
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 51 of 74

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Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 51 of 74 PagelD #: 147

VEH. 83

1, On or about June 6, 2006, Morris Davis falsely notarized an application
for duplicate title on Veh. 83, submitted with a false lien release purporting to be
from Allegiant Bank. The duplicate title was applied for, and later received, in
the name of the owner at 13XX< S. Florissant.

2. On or about July 10, 2006, SEDS (Shahadu Sutton) applied for, and later
received, original title on Veh. 83, claiming to have purchased Veh. 83 from
Morris Davis on June 12, 2006. Morris Davis claimed to have purchased Veh. 83
from the owner on June 10, 2006.

3. On or about February 6, 2007, Shahadu Sutton traded Veh. 83 to
automobile dealership Auto Centers Nissan, Alton, Illinois in order to purchase
Veh. 84.

VEH. 84

1. On or about February 6, 2007, Shahadu Sutton entered into a loan
agreement with Capital One to finance the remaining $26,557.00 due after trading
in Veh. 83 to purchase Veh. 84. Shahadu Sutton made no payments to Capital
One on this loan. Veh. 84 was unrecovered.

2. On or about February 6, 2007, Shahadu Sutton purchased Veh. 84 from
Auto Centers Nissan.

VEH. 85

1. On or about May 31, 2008, Eugene Dunbar presented to Johnny Londoff
Chevrolet fraudulent earnings statements indicating that he worked for Majaluk,

which were produced by Sheldon Mitchell.

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Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 52 of 74

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Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 52 of 74 PagelD #: 148

2. On or about May 31, 2008, Eugene Dunbar entered into a loan agreement
with Chase Bank to finance $47,225.00 to purchase Veh. 85. Eugene Dunbar
made only one payment to Chase Bank on this loan. Veh. 85 was repossessed by
Chase Bank on December 23, 2008.

3. On or about May 31, 2008, Eugene Dunbar purchased Veh. 85 from
Johnny Londoff Chevrolet.

VEH. 86

1. On or about March 28, 2007, Chester Wilson purchased Veh. 86.

2. On or about February 23, 2010, Chester Wilson obtained property damage
coverage on Veh. 86 from State Farm Insurance.

3. On or about March 18, 2010, Veh. 86 was involved in an accident.

4, On or about March 19, 2010, Chester Wilson filed a claim of loss inducing
State Farm Insurance to issue a check payable to Chester Wilson and G.J. in the
amount of $1,580.92.

5. On or about March 24, 2011, Fisher, Preston, Wess (Orlando Preston)
applied for salvage title on Veh. 86, claiming he purchased Veh. 86 from Chester
Wilson. DOR rejected the application.

6. On or about July 20, 2011, William Smith falsely obtained an Osage
Nation transfer title on Veh. 86.

7. On or about December 5, 2011, Tiffany Sutton applied for, and later
received, an original title on Veh. 86 claiming that William Smith gave Veh. 86 to
her as a gift on December 3, 2011.

8. On or about August 4, 2012, Tiffany Sutton sold Veh. 86.

52
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 53 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 53 of 74 PagelD #: 149

SSS.

VEH. 89

1. Between February 3, 2011 and February 4, 2011, a member of the
conspiracy stole Veh. 89 from automobile dealership Tom Boland Ford,
Hannibal, Missouri.

2. On or about March 19, 2011, Reginald McNeary possessed Veh. 89, with
drive-away plates issued to Fisher, Preston, Wess, in the Eastern District of
Missouri.

VEH. 90

1. On or about January 24, 2009, Shahadu Sutton and John Hicks induced
T.W. to attempt to enter into a loan agreement with Santander to finance
$24,599.00 to purchase Veh. 90. T.W. did so at the direction of Shahadu Sutton
and John Hicks with the understanding that Shahadu Sutton would be responsible
for the loan obligations. The loan was voided by Santander.

2. On or about January 24, 2009, T.W. attempted to purchase Veh. 90 from
Paul Cerame at the direction of Shahadu Sutton and John Hicks, and immediately
relinquished possession to Shahadu Sutton.

3. On or about April 7, 2009, Steven Pirtle possessed Veh. 90 in the Eastern
District of Missouri.

VEH. 93

1. On or about May 19, 2008, Reginald McNeary induced M.P. to enter into
a loan agreement with Electro Savings Credit Union to finance $59,669.00 to

purchase Veh. 93. M.P. did so at the direction of Reginald McNeary with the

53
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 54 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 54 of 74 PagelD #: 150

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understanding that Reginald McNeary would be responsible for the loan
obligations. After two payments, no further payments were made on this loan.

2. On or about May 19, 2008, M.P. purchased Veh. 93 from Midrivers Lotus
at the direction of Reginald McNeary, and immediately relinquished possession to
Reginald McNeary.

VEH. 95

1. On or about March 4, 2011, Fisher, Preston, Wess purchased Veh. 95 from
Modern Auto Parts.

2, On or about March 16, 2011, S.M. obtained property damage coverage on
Veh. 95 from Farmer’s Insurance at the direction of Reginald McNeary.

3. On or about April 29, 2011, William Smith falsely obtained an Osage
Nation transfer title on Veh. 95.

4, On or about May 16, 2011, Reginald McNeary staged an accident with
Veh. 95 on Harney Street. Veh. 95 was later towed to Fisher, Preston, Wess.

5. On or about May 17, 2011, Reginald McNeary directed S.M. to file a
claim for loss on Veh. 95 inducing Farmer’s Insurance to issue a check payable to
S.M. in the amount of $5,251.00.

6. On or about June 13, 2011, a’‘member of the conspiracy applied for
salvage title on Veh. 95 in the name of S.M. utilizing the Osage Nation transfer

title that falsely indicated that S.M. purchased Veh. 95 from William Smith.

54
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 55 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 55 of 74 PagelD #: 151

VEH. 96

1. Onor about September 6, 2011, Reginald McNeary staged an accident
between Veh. 96 and Veh. 97 on Harney Street, sometime after receiving Veh. 96
from T.S..

VEH. 97

1. On or about March 3, 2011, Reginald McNeary, as an agent for Fisher,
Preston, Wess, purchased Veh. 97.

2. On or about June 20, 2011, Reginald McNeary purchased Veh. 97 from
Fisher, Preston, Wess.

3. On or about June 21, 2011, Reginald McNeary applied for, and later
received, salvage title on Veh. 97.

4. On or about September 6, 2011, Reginald McNeary staged an accident
between Veh. 96 and Veh. 97 on Hamey Street. Reginald McNeary falsely filed a
claim of loss inducing Safeco Insurance to issue a check payable to Richard
McNeary in the amount of $4,046.82.

VEH. 99

1. On or about August 28, 2010, Reginald McNeary staged an accident with
Veh. 99 on Harney Street. The owner of Veh. 99 was J.Z..

2. On or about August 29, 2010, J.Z. filed a claim of loss on Veh. 99
inducing American Family Insurance to issue a check payable to J.Z. in the

amount of $2,085.60.

55
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 56 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 56 of 74 PagelD #: 152

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VEH. 104

1. On or about January 1, 2011, Orlando Preston possessed Veh. 104 in the
Eastern District of Missouri, sometime after it was stolen from its owner on
November 14, 2010.

2. On or about September 26, 2011, William Smith falsely obtained an
Osage Nation transfer title on Veh. 104.

VEH. 108

1. On or about September 4, 2012, William Smith falsely obtained an Osage
Nation transfer title on Veh. 108, sometime after it was stolen from its owner on
July 16, 2012.

2. On or about September 15, 2012, Veh. 108 was recovered from C.K.
sometime after he purchased it from Orlando Preston,

VEH. 111

1. On or about July 15, 2010, Morris Davis falsely notarized (1) an

- application for duplicate title on Veh. 111 and (2) a lien release purporting to be

from Chrysler Financial, sometime after the lien holder, Santander, attempted to

repossess Veh. 111. The duplicate title was applied for, and later received, in the

name of a previous owner at 50XX Horner, Jefferson City, Missouri.

2. On or about August 20, 2010, Morris Davis relinquished possession of

Veh. 111 to Santander.

56°
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 57 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 57 of 74 PagelD #: 153

bbbb. VEH. 112
1. Between May 3, 2011 and June 24, 2011, a member of the conspiracy
stole Veh. 112 from automobile dealership Patriot GM Motors, Princeton,
Indiana.
2. On or about August 19, 2011, Randy Terrell and Terrelle Marion
possessed Veh. 112 in the Eastern District of Missouri.

cccce. VEH. 114
1. On or about June 10, 2011, William Smith falsely obtained an Osage
Nation transfer title on Veh. 114, sometime after the son of its owner voluntarily
relinquished it to Shahadu Sutton.
2. On or about June 24, 2011, Shahadu Sutton sold Veh. 114 through
consignment with Copart.

dddd. VEH. 116
1. On or about July 11, 2012, William Smith falsely obtained an Osage
Nation transfer title on Veh. 116, sometime after it was stolen from its owner on
June 30, 2012.
2. On or about July 18, 2012, Shahadu Sutton attempted to sell Veh. 116 on
consignment through C.S..

All in violation of, and punishable under, Title 18, United Section Code, Section 371.

COUNTS TWO THROUGH FIFTEEN
(Bank Fraud)

The Grand Jury further charges that:

38. The allegations contained in paragraphs 1 through 34 of the Indictment are realleged

and incorporated herein by reference as if fully set forth.

57
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 58 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 58 of 74 PagelD #: 154

39. Beginning on or about August 1, 2006 and continuing until the present, in the Eastern

District of Missouri, and elsewhere,

SHAHADU SUTTON,
TIFFANY SUTTON,
MORRIS DAVIS,
REGINALD MCNEARY,
JOHN HICKS,
SHELDON MITCHELL,
STEVEN PIRTLE, and
EUGENE DUNBAR,
the defendants herein, did knowingly and willfully execute and attempt to execute a scheme and
artifice to defraud various financial institutions by material falsehoods, whose deposits were
insured by the Federal Deposit Insurance Corporation, and to obtain money and property owned
by and under the custody and control of various financial institutions, all by means of materially
false and fraudulent pretenses, representations, and promises, as well as by active concealment of

material facts, well knowing and having reason to know that said pretenses, representations, and

promises were and would be false, and that such active concealment of facts, were and would be

material.

THE SCHEME

40. The scheme and artifice to defraud and to obtain money by means of materially false
and fraudulent representations and pretenses is more particularly described as follows:

41. The Grand Jury realleges and incorporates by reference paragraphs 36a through 36k of
the Indictment as if fully set forth herein.
EXECUTION OF THE SCHEME

42. On or about the dates listed below in Column B, in the Eastern District of Missouri and
elsewhere, the defendants identified in Column G, aided and abetted by each other, and others,

both known and unknown to the Grand Jury, having devised and intending to devise the

58
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 59 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 59 of 74 PagelD #: 155

aforesaid scheme and artifice to defraud and to obtain moneys by means of materially false

and fraudulent pretenses, representations, and promises, from the custody and control of the

below-listed financial institutions in Column F, as defined in Title 18, United States Code,

Section 20, did knowingly execute, and attempt to execute, the aforesaid scheme by

submitting, or causing others to submit, credit applications and signing security agreements,

with materially false and fraudulent pretenses, representations, and statements to the financial

institutions for a loan in the amount listed in Column E, for the purchase of a vehicle, listed in

Column C, from the automobile dealership listed in Column D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A B Cc D E F G
Count Date of Vehicle Automobile Amount of Financial Defendants
Application Dealership Loan Institution
TWO 2/6/07 Veh. 84 | Auto Centers $26,557.00 | Capital One Shahadu Sutton
Nissan
THREE 5/7/07 Veh. 17 | McMahon Lincoln- | $33,453.99 | Ford Motor Shahadu Sutton
Mercury Credit Tiffany Sutton
FOUR 5/19/08 Veh. 93 | Midrivers Lotus $59,669.00 | Electro Savings | Reginald McNeary
FIVE 5/31/08 Veh. 85 | Johnny Londoff $47,225.00 | Chase Bank Eugene Dunbar
SIX 6/2/08 Veh. 3 | Master Cars $47,033.75 | GCS Federal Eugene Dunbar
Credit Union,
SEVEN 9/24/08 Veh. 27 | Fast Lane Classic $36,595.00 | Vantage Credit | Shahadu Sutton
Cars Union Tiffany Sutton
Sheldon Mitchell
EIGHT 11/10/08 Veh. 81 | Midrivers $28,885.00 Vantage Credit | Reginald McNeary
Lotus Union
NINE 1/10/09 Veh. 14 | Dave Mungenast $37,159.00 | Capital One Shahadu Sutton
Lexus Tiffany Sutton
John Hicks
Sheldon Mitchell
TEN 1/15/09 Veh. 78 | Sunset Auto $35,732.50 | Ford Motor Shahadu Sutton
, Credit John Hicks
Sheldon Mitchell
ELEVEN 1/24/09 Veh. 90 | Paul Cerame $24,200.00 | Santander Shahadu Sutton
John Hicks

 

 

 

 

 

 

Steven Pirtle

 

59

 
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 60 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 60 of 74 PagelD #: 156

 

 

 

 

 

 

 

TWELVE 1/24/09 Veh. 13 | Auto Plaza $30,000.00 | Capital One Shahadu Sutton
Tiffany Sutton
John Hicks
Sheldon Mitchell
THIRTEEN | 1/29/10 | Veh. 15 | Auto Plaza $15,899.00 | AmeriCredit | Shahadu Sutton
Tiffany Sutton
Morris Davis
Sheldon Mitchell
FOURTEEN 8/11/10 Veh. 75 | Auto Plaza $17,243.00 | American Eagle | Reginald McNeary
Credit Union
FIFTEEN 9/16/11 Veh. 79 | Auto Plaza $52,212.00 | Scott Credit Reginald McNeary
Union

 

 

 

 

 

43. All in violation of, and punishable under, Title 18, United States Code, Sections 1344

and 2.

(Mail Fraud)

The Grand Jury further charges that:

COUNTS SIXTEEN THROUGH FIFTY-EIGHT

44, The allegations contained in paragraphs 1 through 34 of the Indictment are realleged

and incorporated herein by reference as if fully set forth.

45. From on or about May 1, 2009 and continuing until the present date, in the Eastern

District of Missouri,

SHAHADU SUTTON,
TIFFANY SUTTON,
MORRIS DAVIS,
ORLANDO PRESTON,
WILLIAM SMITH,
REGINALD MCNEARY,
ROBERT REECE,
JOHN HICKS,
REGINALD DAVIS,
RANDY TERRELL,
LONNIE JORDAN,
SHELDON MITCHELL,
CHESTER WILSON
ARVIS DUNBAR,
STEVEN PIRTLE, and
MICHAEL SMITH,

60

 

 
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 61 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 61 of 74 PagelD #: 157

the defendants herein, aided and abetted by each other, together with others known and unknown
to the Grand Jury, did knowingly and willfully devise and intend to devise a scheme and artifice
to defraud owners and lien holders of their proprietary interest in vehicles and obtain money by
means of false and fraudulent pretenses and representations.

THE SCHEME

46. The scheme and artifice to defraud and to obtain money by means of materially false
and fraudulent representations is more particularly described as follows:

47. The grand jury realleges and incorporates by reference, paragraph 36p through 36v of
the Indictment as if fully set forth herein.

EXECUTION OF THE SCHEME

48. On or about the dates listed in Column B, the defendants listed in Column E, for the
purpose of executing the scheme and artifice and attempting to do so, knowingly mailed and
caused to be delivered by United States mail the items described in Column C, (the asterisk *
symbol in Column C indicates that the item was mailed and the absence of an asterisk
indicates that the item was delivered by mail, all in the Eastern District of Missouri) with

regard to fraud perpetrated concerning the vehicles listed in Column D.

 

 

 

 

 

A B C D E
Count Date of Item Mailed Vehicle Defendants
Mailing
SIXTEEN 5/30/08 DOR Duplicate Veh. 29 Shahadu Sutton
Salvage Title Michael Smith
SEVENTEEN | 6/12/08 DOR Salvage Title | Veh. 80 Shahadu Sutton
Morris Davis
EIGHTEEN 8/21/08 DOR Duplicate Veh. 28 Shahadu Sutton
Title Morris Davis
Reginald Davis
NINETEEN 9/9/08 DOR Veh. 3 Shahadu Sutton
Duplicate Title Steven Pirtle

 

 

 

 

 

 

61

 
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 62 of 74

Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 62 of 74 PagelD #: 158

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A B C D E
Count Date of Item Mailed Vehicle Defendants
Mailing
TWENTY 9/12/08 Mechanic Lien Title | Veh. 2 Michael Smith
Notice to 49XX
Margaretta *
TWENTY- 10/30/08 | DOR Mechanic, Veh. 4 Shahadu Sutton
ONE Lien Title Morris Davis
TWENTY- 11/26/08 | DOR Veh. 27 Shahadu Sutton
| TWO Duplicate Title
TWENTY- 6/16/09 | DOR Duplicate Veh. 11 Shahadu Sutton
THREE Title Tiffany Sutton
TWENTY- 8/4/09 Mechanic Lien Veh. 19 Shahadu Sutton
FOUR Notice to West
Community Credit
Union *
TWENTY- 9/11/09 DOR Mechanic Veh. 13 Shahadu Sutton
FIVE Lien Title Tiffany Sutton
Arvis Dunbar
TWENTY- 9/11/09 DOR Mechanic Veh. 14 Shahadu Sutton
SIX Lien Title Tiffany Sutton
Arvis Dunbar .
TWENTY- 12/24/09 | DOR Mechanic Veh. 9 Shahadu Sutton
SEVEN Lien Title Morris Davis
Arvis Dunbar
TWENTY- 12/28/09 | DOR Duplicate Veh. 12 Morris Davis
EIGHT Title
TWENTY- 12/30/09 | DOR Duplicate Veh. 10 Morris Davis
NINE Title John Hicks
THIRTY 12/31/09 | DOR Duplicate Veh. 40 Shahadu Sutton
Title Morris Davis
THIRTY- 1/4/10 DOR Mechanic Veh. 18 Shahadu Sutton
ONE Lien Title Tiffany Sutton
Morris Davis
Arvis Dunbar
THIRTY- 1/6/10 DOR Duplicate Veh. 24 Morris Davis
TWO Title
THIRTY- 1/21/10 Mechanic Lien Veh. 16 Shahadu Sutton
THREE Notice to AAA * Morris Davis
THIRTY- 4/29/10 DOR Duplicate Veh. 31 Shahadu Sutton
FOUR Title — Morris Davis
THIRTY- 4/29/10 | DOR Duplicate Veh. 34 Morris Davis
FIVE Title
THIRTY-SIX | 4/29/10 | DOR Duplicate Veh. 68 Morris Davis
Salvage Title Robert Reece

 

62

 

 
 

Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 63 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 63 of 74 PagelD #: 159

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A B C D E
Count . Date of Item Mailed Vehicle Defendants
Mailing
THIRTY- ~—-| 5/17/10 | DOR Duplicate Veh. 37 Shahadu Sutton
SEVEN Title Morris Davis
THIRTY- 5/17/10 | DOR Duplicate Veh. 35 Morris Davis
EIGHT Title
THIRTY-.- 5/17/10 DOR Duplicate Veh. 36 Morris Davis
NINE Title
FORTY 6/8/10 . | DOR Duplicate Veh. 30 Shahadu Sutton
. Title Morris Davis
Robert Reece
FORTY-ONE | 6/9/10 DOR Duplicate Veh. 33 Morris Davis
Title
FORTY-TWO | 6/25/10 | DOR Duplicate Veh. 32 Morris Davis
Title
FORTY- 7/22/10 DOR Duplicate Veh. 111 Morris Davis
THREE Title
FORTY- 7/6/10 DOR Duplicate Veh. 38 Shahadu Sutton
FOUR Title Morris Davis
Robert Reece
FORTY-FIVE | 7/12/10 | DOR Duplicate Veh. 39 Shahadu Sutton
Title Morris Davis
Robert Reece
FORTY-SIX | 4/19/11 Osage Nation Title | Veh. 71 Shahadu Sutton
William Smith
FORTY- 4/19/11 Osage Nation Title | Veh. 44 William Smith
SEVEN Reginald Davis
Chester Wilson
FORTY- 4/29/11 Osage Nation Title | Veh. 95 William Smith
EIGHT Orlando Preston
FORTY- 6/10/11 Osage Nation Title | Veh. 114 Shahadu Sutton
NINE William Smith
FIFTY TAA/LI DOR Original Title | Veh. 66 Shahadu Sutton
Morris Davis
Reginald McNeary
Robert Reece
Sheldon Mitchell
FIFTY-ONE | 7/20/11 Osage Nation Title | Veh. 49 Shahadu Sutton
William Smith
Reginald McNeary
FIFTY-TWO | 7/20/11 Osage Nation Title | Veh. 45 Shahadu Sutton
William Smith

 

63

 
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 64 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 64 of 74 PagelD #: 160

 

 

 

 

 

 

 

 

A B Cc D E
Count Date of Item Mailed Vehicle Defendants
Mailing _
FIFTY- 9/26/11 Osage Nation Title | Veh. 48 Shahadu Sutton
THREE William Smith
FIFTY-FOUR | 9/26/11 Osage Nation Title | Veh. 104 Orlando Preston
William Smith
FIFTY-FIVE | 12/19/11 | DOR Original Title | Veh. 86 Tiffany Sutton
Orlando Preston
William Smith
Chester Wilson
FIFTY-SIX 2/7/12 DOR Original Title | Veh. 70(a) Randy Terrell
Lonnie Jordan
FIFTY- 3/16/12 Osage Nation Title | Veh.75 Morris Davis
SEVEN William Smith
Reginald McNeary
FIFTY- 9/4/12 Osage Nation Title | Veh. 108 Orlando Preston
EIGHT William Smith

 

 

 

 

 

 

 

All in violation of, and punishable under, Title 18, United States Code, Sections 1341

and 2.

COUNTS FIFTY-NINE THROUGH SIXTY-NINE
(Mail Fraud)

The Grand Jury further charges that:
49. The allegations contained in paragraphs 1 through 34 of the Indictment are realleged
and incorporated herein by reference as if fully set forth.
50. From on or about July 2008 and continuing up until the present date in the Eastern

District of Missouri,

SHAHADU SUTTON,
REGINALD MCNEARY, and
- JOSEPH PEARSON
the defendants herein, aided and abetted by each other, together with others both known and

unknown to this Grand Jury, did knowingly and willfully devise and intend to devise a scheme

64
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 65 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 65 of 74 PagelD #: 161

and artifice to defraud and to obtain money from persons and their insurance companies by

means of false and fraudulent pretenses and representations.

THE SCHEME

51. The scheme and artifice to defraud and to obtain money by means of materially false

and fraudulent representations and pretenses is more particularly described as follows:

52. The grand jury realleges and incorporates by reference, paragraphs 36w through 36dd

of the Indictment as if fully set forth herein.

EXECUTION OF THE SCHEME

53. ‘On or about the dates listed in Column B, the defendants listed in Column E, for the

purpose of executing the scheme and artifice and attempting to do so, knowingly mailed and

caused to be delivered by United States mail the items described in Column C, (the asterisk *

symbol in Column C indicates that the item was mailed and the absence of an asterisk

indicates that the item was delivered by mail, all in the Eastern District of Missouri) with

regard to fraud perpetrated concerning the vehicles listed in Column D.

 

E |

 

 

 

 

A B Cc D
Count Date of Item Mailed Vehicle Defendants
Mailing

FIFTY-NINE 7/21/08 American Family Insurance Veh. 22 | Joseph Pearson
check - $8,599.00 payable
and mailed to GMAC *

SIXTY 10/30/08 | Progressive Insurance check | Veh. 20 | Reginald McNeary |
- $9,775.00 payable and
mailed to Capital One *

SIXTY-ONE 12/2/08 State Farm Insurance check - | Veh. 27 | Shahadu Sutton
$38,916.50 payable and
mailed to Shahadu Sutton

SIXTY-TWO 3/10/09 Affidavit of no insurance by Veh. 81 | Reginald McNeary

 

 

 

K.Y. mailed to Republic
Western Insurance *

 

 

 

 

65
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 66 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 66 of 74 PagelD #: 162

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

A B C D E
Count Date of Item Mailed Vehicle Defendants
Mailing
SIXTY- 6/2/10 | Progressive Insurance check | Veh.17 | Shahadu Sutton
THREE - $10,372.82 payable and
mailed to Shahadu Sutton
SIXTY- 9/10/10 American Family Insurance Veh. 99 | Reginald McNeary |
FOUR check-$2,085.66 payable and
mailed to J.Z.
SIXTY-FIVE 11/10/10 | Letter from attorney for Veh. 18 | Shahadu Sutton
Shahadu Sutton, demanding
payment for property damage
claim mailed to attorney for
Progressive Insurance *
SIXTY-SIX 1/5/11 Farmer’s Insurance check- Veh. 75 | Reginald McNeary
$6,740.50 payable to
Reginald McNeary and Bill’s
} Automotive and mailed to
Bill’s Automotive
' SIXTY- 3/14/11 Omni Insurance check - Veh. 32 | Shahadu Sutton
SEVEN $9,999.63 payable to RER Reginald McNeary
Auto and Shahadu Sutton
and mailed to R&R Auto *
SIXTY- 8/4/11 Farmer’s Insurance check - Veh. 95 | Reginald McNeary
EIGHT $4,777.00 payable and
mailed to J.M.
SIXTY-NINE 11/17/11 | Safeco Insurance check - Veh. 97 | Reginald McNeary
$4,046.82 payable and
mailed to Richard McNeary
All in violation of, and punishable under, Title 18, United States Code, Sections 1341
and 2.

COUNT SEVENTY

The Grand Jury further charges that:

(Receipt of Stolen Motor Vehicle)

54. On or about January 21, 2011, in the Eastern District of Missouri,

SHAHADU SUTTON,
MORRIS DAVIS, and
JOHN HICKS,

66

 

 
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 67 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 67 of 74 PagelD #: 163

the defendants herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 54,

which had crossed a state boundary after being stolen on or about j anuary 4, 2011, in the State of

lowa and subsequently brought into the State of Missouri, knowing the same to have been stolen.
In violation of; and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-ONE
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
55. On or about April 4, 2011, in the Eastern District of Missouri,
WILLIAM SMITH,
REGINALD DAVIS, and
CHESTER WILSON,
the defendants herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 44,
which had crossed a state boundary after being stolen between July 20, 2010 and August 12,
2010, in the State of Illinois and subsequently brought into the State of Missouri, knowing the
same to have been stolen.

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-TWO
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
56. Onor about May 16, 2011, in the Eastern District of Missouri,

SHAHADU SUTTON,
WILLIAM SMITH, and

CHESTER WILSON,
the defendants herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 43,
which had crossed a state boundary after being stolen on or about February 23, 2011, in the State

of Iowa and subsequently brought into the State of Missouri, knowing the same to have been

stolen.

67
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 68 of 74
Case: .4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 68 of 74 PagelD #: 164

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-THREE
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
57. On or about May 23, 2011, in the Eastern District of Missouri,
RANDY TERRELL,

the defendant herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 46,
which had crossed a state boundary after being stolen between May 9, 2011 and May 16, 2011,
in the State of Jowa and subsequently brought into the State of Missouri, knowing the same to
have been stolen.

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-FOUR
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
58. On or about May 26, 2011, in the Eastern District of Missouri,

SHAHADU SUTTON, and
WILLIAM SMITH,

the defendants herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 45,
which had crossed a state boundary after being stolen between January 3, 2011 and February 15,
2011, in the State of Jowa and subsequently brought into the State of Missouri, knowing the

‘ same to have been stolen.

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-FIVE
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:

68
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 69 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 69 of 74 PagelD #: 165 |

59. Between June 14, 2011 and September 18, 2011, in the Eastern District of Missouri,
RANDY TERRELL,
the defendant herein, did receive, possess, sell and dispose of stolen vehicle, to wit: Veh. 53,
which had crossed a state boundary after being stolen on or about June 14, 2011, in the State of
Iowa and subsequently brought into the State of Missouri, knowing the same to have been stolen.
In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-SIX .
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
60. Onor about June 17, 2011, in the Eastern District of Missouri,

SHAHADU SUTTON, and
RANDY TERRELL,

the defendants herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 50,
which had crossed a state boundary after being stolen on or about April 8, 2011, in the State of
Illinois and subsequently brought into the State of Missouri, knowing the same to have been
stolen. ©

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-SEVEN
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
61. Onor about June 20, 2011, in the Eastern District of Missouri,
TERRELLE MARION,
the defendant herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 56,

which had crossed a state boundary after being stolen on or about May 11, 2011, in the State of

69
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 70 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 70 of 74 PagelD #: 166

Indiana and subsequently brought into the State of Missouri, knowing the same to have been
stolen.
In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-EIGHT
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
62. On or about June 23, 2011, in the Eastern District of Missouri,
ARVIS DUNBAR,

the defendant herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 42,
which had crossed a state boundary after being stolen between January 24, 2011 and January 26,
2011, in the State of Illinois and subsequently brought into the State of Missouri, knowing the
same to have been stolen.

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT SEVENTY-NINE
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
63. On or about July 24, 2011, in the Eastern District of Missouri,
JERMAINE GAMBLE,
the defendant herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 51,
which had crossed a state boundary after being stolen on or about June 14, 2011, in the State of
Iowa and subsequently brought into the State of Missouri, knowing the same to have been stolen.
In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT EIGHTY
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:

70
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 71 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 71 of 74 PagelD #: 167

64. On or about July 24, 2011, in the Eastern District of Missouri,
JERMAINE GAMBLE,
the defendant herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 52,
which had crossed a state boundary after being stolen on or about June 14, 2011, in the State of
Iowa and subsequently brought into the State of Missouri, knowing the same to have been stolen.
In violation of, and punishable under Title 18, United States Code, Sections 2313 and 2.

COUNT EIGHTY-ONE
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
65. Onor about July 24, 2011, in the Eastern District of Missouri,

RANDY TERRELL, and
TERRELLE MARION,

the defendants herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 112,
which had crossed a state boundary after being stolen between May 3, 2011 and June 24, 2011,
in the State of Indiana and subsequently brought into the State of Missouri, knowing the same to
have been stolen.

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT EIGHTY-TWO
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
66. On or about August 19, 2011, in the Eastern District of Missouri,

DENVER CARROLL ITI, and
REGINALD MCNEARY,

71
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 72 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 72 of 74 PagelD #: 168

the defendants herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 64,
which had crossed a state boundary after being stolen on or about May 17, 2011, in the State of
Illinois and subsequently brought into the State of Missouri, knowing the same to have been
stolen.

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT EIGHTY-THREE
(Receipt of Stolen Motor Vehicle)

The Grand Jury further charges that:
67. On or about September 29, 2011, in the Eastern District of Missouri,

SHAHADU SUTTON, and
WILLIAM SMITH,

‘the defendants herein, did receive, possess, sell and dispose of a stolen vehicle, to wit: Veh. 48,
which had crossed a state boundary after being stolen on or about April 28, 2011, in the State of
Georgia and subsequently brought into the State of Missouri, knowing the same to have been
stolen.

In violation of, and punishable under, Title 18, United States Code, Sections 2313 and 2.

COUNT EIGHTY-FOUR
(Chop Shop)

The Grand Jury further charges that:
68. On or about August 17, 2011, in the Eastern District of Missouri,
ORLANDO PRESTON,
the defendant herein, did knowingly and intentionally own, operate, maintain, control, and
conduct operations in a chop shop, as defined in Title 18, United States Code, Section 2322(b).

In violation of, and punishable under, Title 18, United States Code, Section 2322(a)(1).

72
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 73 of 74
Case: 4:13-cr-00143-CDP Doc. #: 2 Filed: 04/16/13 Page: 73 of 74 PagelD #: 169

FORFEITURE ALLEGATION
The Grand Jury further charges that:

69. The allegations contained in Counts One through Eighty-Four of this Indictment are
hereby realleged and incorporated by reference for the purpose of alleging forfeitures, pursuant
to the provisions of Title 18, United States Code, Section 982(a).

70. Pursuant to Title 18, United States Code, Section 982(a)(2), upon conviction of a
violation of, and conspiring to violate, Title 18, United States Code, Sections 1341 and 1344 as
set forth in Counts One through Sixty-Nine, the defendants shall forfeit to the United States of
America any property constituting, or derived from, proceeds obtained, either directly or
indirectly, from commission of the offense.

71. Pursuant to Title 18, United States Code, Section 982(a)(5), upon conviction of a
violation of, and conspiring to violate, Title 18, United States Code, Sections 2312 and 2313 as
set forth in Counts One, and Seventy through Eighty-Three the defendants shall forfeit to the
United States of America any property, real or personal, that constitutes, or is derived from or
is traceable to the gross proceeds obtained directly or indirectly from the commission of the
offense.

'72. Subject to forfeiture is a sum of money equal to the total value of any property, real or
personal, that constitutes, or is derived from or is traceable to the proceeds obtained, either
directly or indirectly, from the commission of the offense, but is at least $2,500,000.00, which
represents the minimum amount of proceeds obtained as a result of such offenses.

73. Ifany of the property described in the above paragraphs, as a result of any act or

omission of the defendant,

73
Case 2:22-cv-02048-JAR-ADM Document 17-8 Filed 06/03/22 Page 74 of 74
Case: 4:13-cr-00143-CDP Doc.#: 2 Filed: 04/16/13 Page: 74 of 74 PagelD #: 170

cannot be located upon the exercise of due diligence;
_ has been transferred to, sold to, or deposited with a third person;
has been place beyond the jurisdiction of the Court;
has been substantially diminished in value; and/or
has been commingled with other property that cannot be subdivided without

difficulty;

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It is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),
which is incorporated by Title 18, United States Code, Section 982(b)(1), to seek forfeiture of
any property of the defendants up to the value of the property described above as being subject to

forfeiture.

A TRUE BILL

 

FOREPERSON

RICHARD G. CALLAHAN
United States Attorney

 

JOHN J. WARE, #40880MO
STEPHEN CASEY, #58879MO
Assistant United States Attorney

74
